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 9    Entropic Communications, LLC
10
                         UNITED STATES DISTRICT COURT
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                       CENTRAL DISTRICT OF CALIFORNIA
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     ENTROPIC COMMUNICATIONS, LLC, Case No.: 2:23-cv-01043-JWH-KES
14                                 (Lead Case)
                  Plaintiff,       Case No.: 2:23-cv-01047-JWH-KES
15
                                   (Related Case)
          v.
16                                 Case No.: 2:23-cv-01048-JWH-KES
     DISH NETWORK CORPORATION, et  (Related Case)
17   al.,                          Case No.: 2:23-cv-05253-JWH-KES
18                Defendants.      (Related Case)
19
20                                 CORRECTED SECOND AMENDED
     ENTROPIC COMMUNICATIONS, LLC, COMPLAINT FOR PATENT
21                                 INFRINGEMENT FOR CASE NO.
                 Plaintiff,
22                                 2:23-cv-01048-JWH-KES
         v.
23
     COX COMMUNICATIONS, INC., et al.,       DEMAND FOR JURY TRIAL
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                      Defendants.
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 1   ENTROPIC COMMUNICATIONS, LLC,
 2                    Plaintiff,
 3            v.
 4   COMCAST CORPORATION, et al.,
 5
                      Defendants.
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     ENTROPIC COMMUNICATIONS, LLC,
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                      Plaintiff,
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              v.
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     DIRECTV, LLC, et al.,
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11                    Defendants.

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 1            Plaintiff, Entropic Communications, LLC (“Entropic”), files this complaint for
 2   patent infringement against Comcast Corporation (“Comcast Corp.”); Comcast Cable
 3   Communications,       LLC     (“Comcast     Communications”);     and    Comcast     Cable
 4   Communications        Management, LLC (“Comcast            Management”), (collectively,
 5   “Comcast”) and in support thereof alleges as follows:
 6            1.    Around the turn of the millennium, cable and satellite providers were eager
 7   to deploy new and improved services, but they faced a big problem. The providers
 8   needed a high-speed data network inside buildings to deliver those services to various
 9   rooms. With existing technology, this meant installing new cabling inside each premises
10   to carry the network. Aside from the costly materials themselves, technicians would be
11   forced to spend hours planning the work, cutting and drilling into walls, and fishing
12   cables throughout a building, all while doing so in ways customers might tolerate. The
13   costs would run into the billions of dollars.
14            2.    A group of inventors had a vision: what if they could repurpose the already-
15   existing coaxial cables common in buildings to do the job? The challenges were
16   daunting. Existing coaxial cabling was never intended to work this way. The mess of
17   existing coax topologies in homes and businesses was a formidable barrier. The splitter
18   devices used to distribute legacy TV obstructed signals from room-to-room. Making it
19   all work would require nothing less than the invention of a new networking architecture
20   founded upon a host of new technologies.
21            3.    They    succeeded.     The    inventors’    company,     called    Entropic
22   Communications Inc. (“Entropic Inc.”), made the technology work. The company was
23   awarded a portfolio of patents for the advances that made it possible. And the company
24   spearheaded forming a new industry standard for the architecture, commonly called
25   MoCA (Multimedia over Coax Alliance).
26            4.    Today, MoCA is the backbone of data and entertainment services for tens
27   of millions of customers. MoCA is widely used by every major provider in the industry,
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 1   saving them billions of dollars in costs and avoiding the hassle of re-wiring for providers
 2   and customers alike. Unfortunately, the defendants take advantage of MoCA without
 3   paying appropriate licensing fees for the technology. This lawsuit is about redressing
 4   that wrong.
 5            5.   This is a civil action arising under the patent laws of the United States,
 6   35 U.S.C. § 1 et seq., including specifically 35 U.S.C. § 271, based on the defendants’
 7   infringement of U.S. Patent Nos. 7,295,518 (the “’518 Patent”), 7,594,249 (the
 8   “’249 Patent”) (together the “Network Patents”); U.S. Patent Nos. 7,889,759 (the
 9   “’759 Patent”), 8,085,802 (the “’802 Patent”) (together the “Node Admission Patents”);
10   U.S. Patent Nos. 9,838,213 (the “’213 Patent”), 10,432,422 (the “’422 Patent”) (together
11   the “PQoS Flows Patents”); U.S. Patent Nos. 8,631,450 (the “’450 Patent”), 8,621,539
12   (the “’539 Patent”) (together the “Link Maintenance Patents”); U.S. Patent No.
13   8,320,566 (the “’0,566 Patent” or the “OFDMA Patent”); U.S. Patent No. 10,257,566
14   (the “’7,566 Patent” or the “Network Coordinator Patent”); U.S. Patent No. 8,228,910
15   (the “’910 Patent” or the “Packet Aggregation Patent”); U.S. Patent No. 8,363,681 (the
16   “’681 Patent” or the “Clock Sync Patent”) (collectively, the “Patents-in-Suit”). These
17   patents incorporate various elements of technology set forth in the Multimedia over
18   Coax Alliance standards (the “MoCA” standards).1
19                                        THE PARTIES
20            6.   Entropic is a Delaware limited liability company with an office at 7150
21   Preston Road, Suite 300, Plano, Texas 75024.
22            7.   Entropic is the owner by assignment to all right, title, and interest to the
23   Patents-in-Suit. Entropic is the successor-in-interest for the Patents-in-Suit.
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      Each version of the MoCA standards is referred to herein as “MoCA 1.0,” “MoCA
     1.1,” and “MoCA 2.0.”
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 1            8.    Upon information and belief, Comcast Corp. is a corporation organized and
 2   existing under the laws of Pennsylvania, with a principal place of business at 1701 JFK
 3   Boulevard, Philadelphia, Pennsylvania 19103.
 4            9.    Comcast Corp. has, as its registered agent in California, CT Corporation
 5   System, 330 N. Brand Blvd., Suite 700, Glendale, California 91203.
 6            10.   Comcast Corp., along with the other defendants, develops, markets, sells,
 7   offers for sale and/or provides “Comcast” and “Xfinity” branded cable television
 8   services and equipment to customers.
 9            11.   Comcast Communications is a limited liability company organized and
10   existing under the laws of Delaware, with a principal place of business at 1701 JFK
11   Boulevard, Philadelphia, Pennsylvania 19103. Upon information and belief, Comcast
12   Communications is a subsidiary of Comcast Corp.
13            12.   Comcast Communications has, as its registered agent in California,
14   CT Corporation System, 330 N. Brand Blvd., Suite 700, Glendale, California 91203.
15            13.   Comcast Communications, along with the other defendants, develops,
16   markets, sells, offers for sale and/or provides “Comcast” and “Xfinity” branded cable
17   television services and equipment to customers.
18            14.   Comcast Management is a limited liability company organized and existing
19   under the laws of Delaware, with a principal place of business at 1701 JFK Boulevard,
20   Philadelphia, Pennsylvania 19103. Upon information and belief, Comcast Management,
21   is a subsidiary of Comcast Corp.
22            15.   Comcast Management has, as its registered agent in California,
23   CT Corporation System, 330 N. Brand Blvd., Suite 700, Glendale, California 91203.
24            16.   Comcast Management, along with the other defendants, develops, markets,
25   sells, offers for sale and/or provides “Comcast” and “Xfinity” branded cable television
26   services and equipment to customers.
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 1             17.   Comcast Corp. and/or Comcast Communications owns or leases, and
 2   maintains and operates several stores in this district by and through subsidiary limited
 3   liability companies that they own, manage and control, including Comcast of Santa
 4   Maria, LLC and Comcast of Lompoc LLC. Upon information and belief, Comcast Corp.
 5   and/or Comcast Communications (and/or personnel employed by them) negotiates and
 6   signs agreements on behalf of each of these entities.
 7             18.   Upon   information   and   belief,   Comcast   Corp.   and/or   Comcast
 8   Communications are the corporate managers of their subsidiary LLCs that own or lease
 9   property in this district, and that own, store, sell, demonstrate, and lease equipment in
10   this district. Comcast Corp. and/or Comcast Communications have the right to exercise
11   near total control of each entity’s operations through its LLC agreements with each
12   entity.
13             19.   In each of those stores, Comcast Corp. and/or Comcast Communications
14   owns and stores equipment such as modems and set top boxes (“STBs”) and
15   demonstrates services provided via those products to Comcast customers by and through
16   subsidiary limited liability companies that it manages and controls.
17             20.   Upon   information   and   belief,   Comcast   Corp.   and/or   Comcast
18   Communications employs personnel that install, service, repair and/or replace
19   equipment, as appropriate, in this district by and through subsidiary limited liability
20   companies that it manages and controls.
21             21.   Upon   information   and   belief,   Comcast   Corp.   and/or   Comcast
22   Communications have two wholly owned subsidiaries in this Judicial District of Central
23   California that serve as their agents.
24             22.   Comcast of Santa Maria, LLC (“Comcast Santa Maria”) is a limited
25   liability company organized and existing under the laws of Pennsylvania, with a
26   principal place of business at 1701 JFK Boulevard, Philadelphia, Pennsylvania 19103.
27   Comcast Santa Maria is a subsidiary of Comcast Corp.
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 1            23.   Comcast Santa Maria, along with the other defendants, markets, sells,
 2   offers for sale and/or provides “Comcast” and “Xfinity” branded cable television
 3   services and equipment to customers.
 4            24.   Comcast of Lompoc, LLC (“Comcast Lompoc”) is a limited liability
 5   company organized and existing under the laws of Pennsylvania, with a principal place
 6   of business at 1701 JFK Boulevard, Philadelphia, Pennsylvania 19103. Comcast
 7   Lompoc is a subsidiary of Comcast Corp.
 8            25.   Comcast Lompoc, along with the other defendants, markets, sells, offers
 9   for sale and/or provides “Comcast” and “Xfinity” branded cable television services and
10   equipment to customers.
11            26.   Upon information and belief, Comcast Communications, Comcast,
12   Management, Comcast Santa Maria, and Comcast Lompoc are the agents of Comcast
13   Corp. Upon information and belief, Comcast Corp. has complete and total control over
14   its agents Comcast Communications, Comcast Management, Comcast Santa Maria, and
15   Comcast Lompoc. Upon information and belief, Comcast Corp. shares management,
16   common ownership, advertising platforms, facilities, distribution chains and platforms,
17   stores, and accused product lines and products involving related technologies with its
18   agents, including at least Comcast Communications, Comcast Management, Comcast
19   Santa Maria, and Comcast Lompoc.
20            27.   For example, Comcast Corp., Comcast Communications, Comcast
21   Management, Comcast Santa Maria, and Comcast Lompoc all have the same principal
22   place of business at 1701 JFK Boulevard, Philadelphia, Pennsylvania 19103.
23            28.   The Comcast “Xfinity Residential Services Agreement” purports to bind
24   Comcast’s customers, including those customers in this Judicial District to an agreement
25   with Comcast Communications for, inter alia, the Accused Services (defined below)
26   that Comcast’s customers receive through the infringing use of the Accused MoCA
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 1   Instrumentalities (defined below).2 This agreement further provides that an entity other
 2   than Comcast Communications provides the services. Upon information and belief, the
 3   entity that provides the services to Comcast’s customers and subscribers is Comcast
 4   Management.
 5            29.   Comcast Management further shares a leadership team with Comcast
 6   Corp. 3 For example, Brian Roberts is the Chairman and Chief Executive Officer of both
 7   Comcast Management and Comcast Corp.; Daniel Murdock is Executive Vice President
 8   and Chief Accounting Officer of both Comcast Corp. and Comcast Management;
 9   Francis Buono is Executive Vice President of Legal Regulatory Affairs and Senior
10   Deputy General Counsel of both Comcast Corp. and Comcast Management; and Karen
11   Buchholz is Executive Vice President, Administration of both Comcast Corp. and
12   Comcast Management.
13            30.   As further alleged herein, this Court has personal jurisdiction over the
14   defendants and venue is proper in this Judicial District.
15                                  PRE-SUIT DISCUSSIONS
16            31.   Prior to filing this Complaint, Entropic sent a communication by physical
17   means to Comcast on August 9, 2022, in an attempt to engage Comcast and/or its agents
18   in good faith licensing discussions regarding Entropic’s patent portfolio, including the
19   Patents-in-Suit. Comcast replied to the communication on October 10, 2022, asking for
20   additional information. On December 23, 2022 and January 2, 2023, Entropic sent
21   Comcast another communication by both physical and electronic means regarding a
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         https://www.xfinity.com/Corporate/Customers/Policies/SubscriberAgreement.
24   3
        Compare names found in Exhibit A, https://www.cpuc.ca.gov/-/media/cpuc-
25   website/divisions/communications-division/documents/video-franchising-and-
     broadband-analysis/video-franchising-main/applications-received--by-the-
26   puc/2022/20220926-comcast-48a/comcast-48a-application.pdf, with the biographies of
27   the identified personnel at Comcast’s corporate leadership website,
     https://corporate.comcast.com/company/leadership.
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 1   separate license to Entropic’s patents for the field of the standardized
 2   networking technology commonly called MoCA, and also seeking to discuss with
 3   Comcast a typical non-disclosure agreement in order to share such information.
 4                       ENTROPIC’S LEGACY AS AN INNOVATOR
 5            32.   Entropic Communications, Inc. (“Entropic Inc.”), the predecessor-in-
 6   interest to Plaintiff Entropic as to the Patents-in-Suit, was founded in San Diego,
 7   California in 2001 by Dr. Anton Monk, Itzhak Gurantz, Ladd El Wardani and others.
 8   Entropic Inc. was exclusively responsible for the development of the initial versions of
 9   the MoCA standards, including MoCA 1.0, ratified in 2006 and MoCA 1.1, ratified in
10   2007, and was instrumental in the development of MoCA 2.0, ratified in 2010. It also
11   developed Direct Broadcast Satellite (“DBS”) Outdoor Unit (“ODU”) single wire
12   technology, and System-on-Chip (“SoC”) solutions for set-top boxes (STBs) in the
13   home television and home video markets. Entropic was widely known in the cable
14   industry for these innovations and its foundational development of MoCA.
15            33.   Under the technical guidance of Dr. Monk, Entropic Inc. grew to be
16   publicly listed on the NASDAQ in 2007. After the public listing, the company acquired
17   RF Magic, Inc. in 2007, a company specializing in DBS ODU technology and related
18   hardware.
19            34.   Additional growth between 2007 and 2015 bolstered the technical expertise
20   of Entropic Inc. with respect to signal acquisition, stacking, filtering, processing, and
21   distribution for STBs and cable modems.
22            35.   For years, Entropic Inc. pioneered innovative networking technologies, as
23   well as television and internet related technologies. These technologies simplified the
24   installation required to support wideband reception of multiple channels for
25   demodulation, improved home internet performance, and enabled more efficient and
26   responsive troubleshooting and upstream signal management for cable providers. These
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 1   District of Texas, Case No. 2:22-CV-00125-JRG (“the Charter Suit”), on April 27, 2022.
 2   This suit against Charter asserted the ’775 Patent, the ’690 Patent, the ’008 Patent, the
 3   ’362 Patent, the ’826 Patent, and the ’682 Patent against Charter’s provision of cable
 4   television and internet services, cable modem products and STBs.
 5            69.   On information and belief, Comcast had knowledge of its infringement of
 6   certain of the Non-SEP Patents based on its awareness of the patent infringement suit
 7   filed by Entropic against Charter in the Eastern District of Texas, Case No. 2:23-CV-
 8   00052-JRG, on February 10, 2023. This second suit against Charter asserted the ’866
 9   Patent and the ’206 Patent against Charter’s provision of cable television and internet
10   services, cable modem products and STBs. The complaint was amended on October 31,
11   2023, to assert the ’275 Patent and ’438 Patent against Charter.
12            70.   Both Charter and Comcast are part of the close-knit business community
13   that is the cable industry, which is led by key industry players. These key players work
14   collaboratively to develop new technology and programs to drive the industry forward,
15   including      through   organizations   like   MoCA   and    the   Society   of   Cable
16   Telecommunications Engineers.
17            71.    Comcast and Charter actively collaborate together, have monthly
18   meetings across various departments, and have even collaborated together on accused
19   technologies. Specifically, Comcast and Charter have collaborated together on Profile
20   Management Application (“PMA”) technology and the implementation of full band
21   capture.
22            72.   Comcast’s PMA implementation infringes the ’682 Patent in substantially
23   the same manner as Charter’s PMA implementation. Given the amount of collaboration
24   that occurs between Charter and Comcast, Comcast was aware of the accusations against
25   Charter’s PMA implementation.
26            73.   Comcast’s implementation of remote spectrum monitoring functionality in
27   its Proactive Network Maintenance (“PNM”) system infringes the ’008 and ’826 Patents
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 1   in substantially the same manner as Charter’s implementation of remote spectrum
 2   monitoring in its PNM system. Given the amount of collaboration that occurs between
 3   Charter and Comcast, Comcast was aware of the accusations against Charter’s
 4   implementation of remote spectrum monitoring in its PNM system. Additionally,
 5   Comcast collects information regarding the upstream channels as part of the operation
 6   of its network, in a similar manner as Charter. This collection of information regarding
 7   the upstream channels as part of the operation of a cable network infringes the ’690
 8   Patent.
 9            74.   Comcast’s usage of full band capture-enabled cable modems and STBs
10   infringes the ’362, ’866, ’206 and ’275 Patents in substantially the same manner as
11   Charter’s usage of full band capture-enabled cable modems and STBs. Given the
12   amount of collaboration that occurs between Charter, Comcast and its common supplied
13   of the cable modems, STBs and underlying full band capture system-on-chips (or SoCs),
14   Comcast was aware of the accusations against Charter’s usage of full band capture-
15   enabled cable modems and STBs.
16            75.   Comcast uses cable modem termination system (“CMTS”) hardware and
17   software as part of its cable network.
18            76.   Comcast and Charter also collaborate together at events for the Society of
19   Cable Telecommunications Engineers (“SCTE”), of which both Comcast and Charter
20   are members. Among other things, Comcast and Charter participate in panels together,
21   share data and achievements related to SCTE, and work on peer-reviewed papers
22   together.
23            77.   Charter and Comcast also “team up” to offer streaming devices and other
24   technology to customers. Indeed, The New York Times published an article about such
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 1   a joint venture between Comcast and Charter on April 27, 2022, the very same day that
 2   the first suit against Charter was filed.
 3            78.   As evidenced by this article, Comcast knows that Charter utilizes
 4   technology that functions almost identically to Comcast’s technology.
 5            79.   Among other things, Charter and Comcast utilize similar product offerings
 6   that incorporate the same technologies. Charter and Comcast purchase their products,
 7   including cable modems, STBs, and CMTS hardware and software, from the same third
 8   parties. These products utilize the same or similar SoCs and other processors and provide
 9   similar functionality. For example, both Charter and Comcast provide whole-home DVR
10   solutions utilizing MoCA to create an in-home network over the on-premises coaxial
11   cabling. Similarly, both Charter and Comcast utilize cable modems having Broadcom
12   BCM3390 SoCs and STBs utilizing a combination of Broadcom full-band capture SoCs
13   utilizing a combination of Broadcom full-band capture SoCs to interface with the cable
14   network and STB SoCs to decode and display television content.
15            80.   For example, one supplier of STBs, Arris, provides the DCX3600 to both
16   Comcast and Charter. Comcast refers to the Arris DCX3600 as the Arris MX011ANM
17   or XG1-A, and Charter refers to it simply as the Arris DCX3600. An image of the circuit
18   board included in the Arris DCX3600 is shown below, clearly showing both the
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 1   DCX3600 and XG1 branding:
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17            81.   The two Charter suits discussed herein asserted the same patents and
18   involved largely the same technology as is at issue in this action.
19            82.   Given the close business relationship between Comcast and Charter, as well

20   as the joint ventures that Comcast was pursuing with Charter when these suits were filed
21   against Charter, Comcast was almost certainly aware of their filings.
22            83.   Upon information and belief, and based on Comcast’s awareness of the
23   substantial similarities between Comcast’s and Charter’s technology and products,
24   Comcast analyzed the claims asserted against Charter, the Patents-in-Suit, and the
25   Accused Products.
26            84.   Upon information and belief, Comcast then analyzed its own products’
27   functionality in light of the patents asserted against Charter, and it confirmed that its
28   own products were functionally identical to the Charter products accused.Upon information
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 1   and belief, Comcast monitored the ongoing prosecution of the ’362 Patent family, and
 2   therefore was aware of the U.S. Patent No. 11,381,866 (the “’866 Patent”) issued on July
 3   5, 2022, and U.S. Patent No. 11,399,206 (the “’206 Patent”) issued on July 26, 2022.
 4            85.   Upon information and belief, Comcast analyzed its products’ functionality
 5   in light of the ’866 Patent.
 6            86.   Upon information and belief, Comcast analyzed its products’ functionality
 7   in light of the ’206 Patent.
 8            87.   Upon information and belief, Comcast thereafter determined that its
 9   products infringe the Non-SEP Patents in substantially the same manner as Charter.
10            88.   Nevertheless, Comcast continued to make, sell, or offer for sell the
11   infringing products.
12            89.   Upon information and belief, Comcast requested indemnification from
13   Comcast’s suppliers for each of the patents asserted against Charter, including the
14   MoCA-related patents, prior to Entropic filing the current action.
15            90.   Comcast’s request for indemnification evidences its knowledge of the risk
16   that it infringed at least Entropic’s Non-SEP Patents, and that a suit similar to the Charter
17   Suit was likely to be initiated against Comcast.
18            2. The DISH and DirecTV Suits
19            91.   Entropic filed a patent infringement suit against Dish Network Corporation,
20   DISH Network, LLC, and Dish Network Service, LLC (collectively, “Dish”) in the
21   Eastern District of Texas, Case No. 2:22-CV-00076, on March 9, 2022, asserting
22   infringement of three Entropic patents, including the ’008 Patent (the “Dish Suit”).
23            92.   Entropic filed a patent infringement suit against DirecTV, LLC, AT&T,
24   Inc., AT&T Services, Inc., and AT&T Communications, LLC in the Eastern District of
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 1   Texas, Case No. 2:22-CV-00075 on March 9, 2022, asserting infringement of three
 2   Entropic patents, including the ’008 Patent (the “DirecTV Suit”).
 3            93.   Upon information and belief, Comcast contacted RPX Corporation
 4   (“RPX”) regarding the Charter Suit, Dish Suit, and DirecTV Suit after being served with
 5   the complaint in these actions. Either before or shortly after its discussions with RPX,
 6   Comcast substantively reviewed and analyzed the patents asserted in the Charter Suit,
 7   Dish Suit, and DirecTV Suit.
 8            3. Comcast’s Relationship with MaxLinear
 9            94.   Comcast has willfully infringed the Non-SEP Patents based on knowledge
10   it gained from Patrick Tierney. Tierney, one of the named inventors of the ’008 Patent
11   and ’826 Patent, now works at Comcast. Accordingly, upon information and belief,
12   Comcast knew of the aforementioned Non-SEP Patents as early as the day Patrick
13   Tierney was hired. For example, upon information and belief, Comcast looked at patents
14   which named Patrick Tierney as an inventor as part of the process of determining
15   whether to offer him employment at Comcast.
16            95.   Patrick Tierney and other MaxLinear employees frequently met with
17   Comcast and discussed the technologies of both MaxLinear and Entropic Inc. that
18   practiced the Non-SEP Patents . Thus, Patrick Tierney was well aware of the technology
19   and functionality of the Non-SEP Patents.
20            96.   Indeed, before his employment at Comcast, Patrick Tierney often met with
21   Comcast personnel to discuss new technology for which MaxLinear and Entropic
22   Communications, Inc. had recently applied for or received patent protection.
23            97.   For example, Patrick Tierney met with Sam Chernak of Comcast on
24   December 20, 2012, less than a month after the ’566 Patent issued. Upon information
25   and belief, Mr. Tierney told Mr. Chernak about the ’566 Patent.
26            98.   As another example, Comcast met with MaxLinear to ask MaxLinear to
27   support a low cost D3 modem on January 20, 2013, less than a month after the ’681
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 1   Patent issued.
 2            99.    In his role at Comcast, on information and belief, Patrick Tierney shared
 3   what he knew about the functionality and operation of the Non-SEP Patents with other
 4   Comcast personnel, so that Comcast could continue to create products that infringe upon
 5   the Non-SEP Patents.
 6            100. Comcast also learned about the functionality of the Non-SEP Patents
 7   through other events it attended, including the 2015 International Broadcasting
 8   Convention, where MaxLinear presented information about new products and
 9   technology that implemented the Non-SEP Patents.
10            101. MaxLinear also held several business discussions with Comcast in 2015,
11   wherein MaxLinear discussed its products and technology that implemented the Non-
12   SEP Patents and explained how that technology could benefit Comcast’s business.
13            102. Specifically, MaxLinear gave a presentation to Comcast in March 2015
14   wherein it discussed confidential, new technology being developed by MaxLinear and
15   Entropic Inc. MaxLinear’s March 2015 presentation specifically referenced that much
16   of this technology was covered by “[a]lmost 2000 issued and pending patents.”
17            103. Finally, Comcast has been willfully infringing since at least October 2021,
18   when it intentionally misappropriated MaxLinear’s technology and related patents by
19   disclosing that information to MaxLinear’s competitor.
20            104.   In 2020, Comcast began pursuing full duplex (“FDX”) technology to
21   implement DOCSIS 4.0, which was intended to enable higher speeds for both
22   downstream and upstream communications.
23            105. However, Comcast soon realized that the only then-viable FDX
24   architecture could not be deployed to serve the majority of Comcast’s network.
25            106. Comcast turned to MaxLinear to solve this problem, as MaxLinear was a
26   well-known innovator in the FDX space. Indeed, since at least 2016, Comcast itself
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 1   acknowledged that MaxLinear was the only company able to deliver viable FDX
 2   technology.
 3            107. In 2020, after entering into a non-disclosure agreement, MaxLinear shared
 4   its confidential FDX technologies with Comcast in the hopes of expanding their business
 5   relationship.
 6            108. On information and relief, Comcast knew that MaxLinear’s disclosures
 7   regarding the FDX technology were confidential and were owned by MaxLinear,
 8   including by virtue of the non-disclosure agreement signed by Comcast, as well as the
 9   confidentiality designations MaxLinear marked its FDX disclosures with.
10            109. On information and belief, in October 2021, Comcast nevertheless took
11   credit for MaxLinear’s technology in a published article. See Elad Nafshi, Announcing
12   Another 10G Milestone Amidst a Flurry of Innovation, Comcast (Oct. 14, 2021),
13   https://tinyurl.com/yphyu6a9.
14            110. In September 2022, Richard Prodan, one of the Comcast employees who
15   attended and received copies of MaxLinear’s confidential presentation on the design of
16   its FDX-amplifier solution, published an industry paper that described an FDX-amplifier
17   design that was materially identical to the one MaxLinear developed and confidentially
18   shared with Comcast.
19            111. On information and belief, Comcast was aware that its use of MaxLinear’s
20   FDX technology misappropriated MaxLinear’s trade secrets, including based on the
21   parties’ prior business dealings, the NDA, and based on the recent counterclaims filed
22   by MaxLinear against Comcast on December 1, 2023 in the United States District Court
23   for the Southern District of New York, Comcast Cable Communications LLC, et al. v.
24   MaxLinear, Inc., Case No. 1:23-cv-04436-AKH (DE 88).
25            4. Comcast’s Willful Infringement of Specific Non-SEP Patents
26            112. Upon information and belief, Comcast substantively reviewed and
27   analyzed Entropic’s U.S. Patent No. 8,223,775 (the “’775 Patent”), duly issued on July
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 1   17, 2012 from an application filed September 30, 2003, as part of its due diligence prior
 2   to investing in Entropic in 2006.
 3            113. Accordingly, upon information and belief, no later than the day prior to its
 4   latest investment in Entropic in 2006, Comcast knew or had every reason to know that
 5   Entropic owned the ’775 Patent. Because Comcast knew of the ’775 Patent and
 6   substantively reviewed its claims, Comcast began willfully infringing the ’775 Patent no
 7   later than the dates it began offering its cable modem products and services, having
 8   knowledge that such use and deployment infringed the ’775 Patent.
 9            114. As addressed above, Comcast has willfully infringed at least the ’362
10   patent, the ’826 patent, and the ’206 patent through its knowledge gained from the
11   Charter litigation, and was aware of (and substantively analyzed its infringement of) the
12   other Non-SEP Patents no later than the letter sent by Entropic in August 2022.
13            115. Comcast has also willfully infringed at least the ’682 Patent as evidenced
14   by its own patents that cite to U.S. Patent No. 9,419,858 (the ’858 Patent”), which is the
15   ultimate parent of the ’682 Patent. Specifically, Comcast’s patents including U.S. Patent
16   No. 11,191,087; U.S. Patent No. 10,582,515; U.S. Patent No. 11,758,574 cite the ’858
17   Patent.
18            116. Comcast’s reference to the ’858 Patent, which is closely related to and
19   involves similar technology and functionality as the ’682 Patent, evidences Comcast’s
20   awareness that it infringes upon ’682 Patent.
21            117. Further, Comcast filed an application for U.S. Patent No. 9,178,765 on July
22   23, 2013, in the same month that the application for the ’682 Patent was filed. On
23   information and belief, Comcast was aware of the ’682 Patent based on the investigation
24   it undertook during the application and prosecution process for U.S. Patent No.
25   9,178,765. Thus, Comcast has willfully infringed the ’682 Patent since at least July 23,
26   2013.
27            118. Accordingly, Comcast either knew about the Non-SEP Patents, or
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 1   alternatively engaged in a scheme to be willfully blind to the existence of the Non-SEP
 2   Patents.
 3        C. Comcast Has, and Continues, to Willfully and Intentionally Infringe the
 4             Patents-in-Suit
 5            119. Comcast invested in Entropic once in 2003, and again in 2006.
 6            120. Upon information and belief, Comcast substantively reviewed and
 7   analyzed Entropic’s patents and patent applications related to the Entropic’s MoCA
 8   standard patents as part of its due diligence prior to investing in Entropic.
 9            121. Upon information and belief, as part of its due diligence prior to investing
10   in Entropic in 2006, Comcast substantively reviewed and analyzed the following
11   Patents-in-Suit: the ’518 Patent, duly issued on November 13, 2007 from an application
12   filed December 18, 2002, an application filed August 19, 2002 and, inter alia, a
13   provisional application filed August 30, 2001; the ’249 Patent, duly issued on September
14   22, 2009 from an application filed July 21, 2001, and a provisional application filed May
15   4, 2001; the ’759 Patent, duly issued on February 15, 2011 from an application filed July
16   12, 2004, an application filed August 29, 2002, and, inter alia, a provisional application
17   filed August 30, 2001; the ’802 Patent, duly issued on December 27, 2011 from an
18   application filed December 2, 2005, and a provisional application filed December 2,
19   2004; ’450 Patent, duly issued on January 14, 2014, from an application filed September
20   19, 2005 and, inter alia, a provisional application filed December 2, 2004; the ’539
21   Patent, duly issued on December 31, 2013 from an application filed September 29, 2005
22   and, inter alia, a provisional application filed December 2, 2004; the ’7,566 Patent, duly
23   issued on April 9, 2019 from an application filed February 7, 2017, an application filed
24   September 19, 2005, and, inter alia, a provisional application filed December 2, 2004
25   (collectively, the “Pre-Investment Patents”). On information and belief, Comcast knew,
26   based on its own analysis and also potentially statements from Entropic itself, that these
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 1   patents were standard-essential to MoCA, such that practicing the MoCA standard
 2   would infringe these patents.
 3            122. Upon information and belief, no later than the day prior to its latest
 4   investment in Entropic in 2006, Comcast knew or had every reason to know that
 5   Entropic owned the Pre-Investment Patents related to the MoCA technology such that
 6   deployment of MoCA standard-compliant devices would infringe patents owned by
 7   Entropic.
 8            123. Because Comcast knew of the Pre-Investment Patents and substantively
 9   reviewed such Patents, Comcast began willfully infringing the Pre-Investment Patents
10   no later than the dates it began offering the Accused Services as alleged herein, having
11   knowledge that such use and deployment infringed the Pre-Investment Patents.
12            124. No later than 2010 and continuing to the present, Comcast has used
13   products that provided signals, programming and content utilizing a data connection
14   carried over a coaxial cable network in accordance with the MoCA standards, including
15   at least the Arris DCX3200, DCX3400, DCX3500, XG1-A, XG1v3, XG1v4, XG2v2,
16   Ariss MR150CNM, Pace PR150BNM, Pace PX032ANI, Pace PXD01ANI, Samsung
17   SR150BNM, and similarly operating devices. Because Comcast was already aware of
18   Entropic’s Pre-Investment Patents and knew that those patents were standard-essential,
19   Comcast knew that its use of these devices would directly infringe the Pre-Investment
20   Patents. Despite this knowledge, Comcast willfully infringed the Pre-Investment Patents
21   beginning no later than 2010.
22            1. Comcast’s Involvement in MoCA
23            125. Upon information and belief, Comcast was involved with and/or a member
24   of MoCA from the earliest days of the MoCA, through at least August 2019. Indeed,
25   Comcast was a member of the MoCA board of directors.7
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27   7
         See https://mocalliance.org/about/faqs.php.
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 1            126. As an early and active member of MoCA, Comcast helped to develop the
 2   MoCA standard, and therefore would have been knowledgeable about the technology
 3   essential to the practice of that standard.
 4            127. Upon information and belief, Comcast was aware that Entropic, its close
 5   partner in the endeavor to grow and developed the MoCA standard, owned patents for
 6   its technology that was MoCA-standard-compliant. 8
 7            128. Specifically, Comcast would have been aware of at least the ’249 Patent,
 8   which was filed on July 21, 2001; the ’518 Patent, which was filed on December 18,
 9   2002; the ’759 Patent, which was filed on July 24, 2004; the ’450 Patent, which was
10   filed on September 19, 2005; the ’539 Patent, which was filed on September 29, 2005;
11   and the ’802 Patent, which was filed on December 2, 2005. These Patents, all of which
12   are essential to the practice of the MoCA standard, were filed during the time that MoCA
13   was being developed by Entropic Inc., Comcast, and others.
14            129. Upon information and belief, no later than the day prior to its latest
15   investment in Entropic in 2006, any reasonable commercial party in Comcast’s position,
16   with Comcast’s knowledge, would perceive a substantial likelihood that deployment of
17   MoCA standard-compliant devices would infringe on Pre-Investment Patents owned by
18   Entropic.
19            130. On information and belief, Comcast continued to monitor and analyze
20   Entropic’s MoCA-related patents and was aware of later-filed patents that are standard-
21   essential to MoCA simply due to the importance of MoCA to Comcast’s business and
22   Comcast’s later involvement as a board member of the MoCA.
23            131. As a member of the MoCA, Comcast was well aware that Entropic, the
24   owner of the Patents-in-Suit, was the leading contributor of technology to the standards
25
26   8
      See
27   https://www.sec.gov/Archives/edgar/data/1227930/000122793015000006/entr2014123
     110-k.htm.
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 1   promulgated by MoCA, which are implicated by the claims of patent infringement
 2   herein. Indeed, Comcast was aware that, at the time, Entropic was the only entity
 3   capable of developing the technology necessary to practice the MoCA standard.
 4            132. Upon information and belief, Comcast knew that MoCA standard-
 5   compliant devices had tremendous success, given the public success through Verizon
 6   Wireless’s deployment of Fios.
 7            133. Comcast also willfully infringed the ’518 Patent by virtue of its
 8   involvement in MoCA. On October 28, 2008, Anton Monk, the Vice President of
 9   Technology for Entropic Inc., disclosed Entropic Inc.’s ownership of the ’518 Patent via
10   email to the MoCA Board of Directors.
11            134. Attached to this email was a document entitled “Disclosure of Intellectual
12   Property,” which represents to the MoCA Board of Directors that the ’518 Patent was
13   essential to the practice of the MoCA standard.
14            135. On information and belief, Comcast was a member of the Board at the time
15   and therefore received this notice from Entropic.
16            136. Comcast therefore had direct notice of the ’518 Patent and that the ’518
17   Patent is essential to the practice of the MoCA standard.
18            137. The ’759 Patent is a continuation-in-part of the ’518 Patent. Given the close
19   relationship between the ’759 Patent and the ’518 Patent, Comcast also was on notice
20   that the ’759 Patent was owned by Entropic Inc. and is essential to the practice of the
21   MoCA standard.
22            138. At the very least, Comcast engaged in a scheme to be willfully blind to the
23   existence of the ’759 Patent and the fact that it is essential to the practice of MoCA
24   standard based on its relation to the ’518 Patent.
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 1   WQHBGS (“the ViXS Suit”), on May 8, 2013, asserting infringement of the ’759 Patent
 2   and the ’518 Patent. Both patents are essential to the standards developed and
 3   promulgated by the MoCA.
 4            153. Upon information and belief, as a member of the MoCA, Comcast analyzed
 5   the claims in the ViXS Suit and the patents asserted in that case, which included the ’759
 6   and ’518 Patents.
 7            154. Upon information and belief, Comcast analyzed its products’ functionality
 8   in light of the patents asserted in the ViXS Suit.
 9            155. Because Comcast already was using and deploying devices practicing the
10   MoCA standards (and continued to do so), Comcast willfully infringed the ’759 and
11   ’518 Patents no later than May 8, 2013, after substantively analyzing the complaint and
12   the patents asserted in the the ViXS Suit.
13            156. As addressed above, Comcast has willfully infringed at least the ’759 Patent
14   and the ’518 Patent through its knowledge gained from the ViXS Suit, and was aware
15   of (and substantively analyzed its infringement of) the other Patents-in-Suit no later than
16   the letter sent by Entropic in August 2022.
17            157. As a member of MoCA, Comcast was well aware that Entropic Inc., the
18   owner of the MoCA Patents in the ViXS Suit, was the leading contributor of technology
19   to the standards promulgated by MoCA, which are implicated by the claims of patent
20   infringement in the ViXS Suit.
21         D. Comcast has willfully infringed each of the Patents-in-Suit through its post-
22             suit conduct. 10
23            158. Despite having knowledge of its infringement of the Patents-in-Suit by
24   virtue of Entropic’s original Complaint, its First Amended Complaint, and its
25
26   10
       Entropic has filed a motion for leave to supplement its complaint with the allegations
     contained in Section E herein contemporaneously with this Second Amended
27   Complaint. This motion requests leave to include allegations of events that occurred
28   after the filing of the original complaint, and it includes a redlined copy of the proposed
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 1   infringement contentions, Comcast continues to make, use, sell, or offer for sale the
 2   Accused Products. Thus, Comcast continues to willfully infringe the Patents-in-Suit.
 3            159. Further, on December 1, 2023, MaxLinear, Inc. filed a Counterclaim
 4   against Comcast in the Southern District of New York (“SDNY”) containing detailed
 5   allegations of Comcast’s misappropriation of MaxLinear’s trade secrets.            These
 6   allegations shed further light on Comcast’s willful infringement of the Patents-in-Suit.
 7            160. Even if Comcast had not willfully infringed the Patents-in-Suit, MaxLinear,
 8   Inc. provided notice of termination of the VSA to Comcast on May 18, 2023, and the
 9   VSA is therefore no longer in effect.
10            1. Original Complaint
11            161. Before the filing of this Second Amended Complaint, on February 16,
12   2023, Comcast accepted service of Entropic’s original Complaint alleging infringement
13   of the same Patents-in-Suit. See DE 1. Entropic hereby incorporates its original
14   Complaint into this Second Amended Complaint by reference.
15            162. Entropic’s original Complaint specifically described the infringing nature
16   of the Accused Products, which are the same as those described herein. Further, the
17   original complaint set forth detailed allegations of how each of the Patents-in-Suit was
18   infringed by one of or more of the Accused Products.
19            163. Comcast thereafter analyzed Entropic’s allegations of infringement and has
20   indeed engaged in substantive discussions with Entropic related to Entropic’s
21   infringement allegations.
22            164. Indeed, after Entropic’s Complaint was filed, on information and belief,
23   Comcast again sought indemnification from its suppliers for Entropic’s claims.
24            165. Thus, Comcast was on notice of the basis for Entropic’s infringement
25   claims and sought protection for those claims from its suppliers. On information and
26
27   supplemental pleading to Entropic’s First Amended Complaint, consistent with this
     Court’s Standing Order.
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 1   belief, Comcast could not have stated grounds for indemnification by specific suppliers
 2   unless it had knowledge of the basis for Entropic’s infringement claims, as well as the
 3   specific products that were being accused.
 4            166. Thus, Comcast has been aware that it infringed Patents-in-Suit since the
 5   service of Entropic’s original Complaint, on February 16, 2023.
 6            2. First Amended Complaint
 7            167. Before the filing of this Second Amended Complaint, on June 5, 2023,
 8   Comcast was served with Entropic’s First Amended Complaint alleging infringement of
 9   the same Patents-in-Suit. See DE 67. Entropic hereby incorporates its First Amended
10   Complaint into this Second Amended Complaint by reference.
11            168. Even more so than its original Complaint, Entropic’s First Amended
12   Complaint set forth specific allegations of Comcast’s infringement of each of the
13   Patents-in-Suit. Entropic included reference to particular patents that Comcast willfully
14   infringed based on its use of particular technology.
15            169. Comcast thereafter analyzed Entropic’s allegations of infringement and has
16   indeed engaged in substantive discussions with Entropic related to Entropic’s
17   infringement allegations.
18            170. Thus, Comcast has been aware that it infringed Patents-in-Suit since the
19   service of Entropic’s original Complaint, on June 5, 2023.
20            3. Entropic’s Infringement Contentions
21            171. Further, Entropic’s infringement contentions, served on September 15,
22   2023, provided Comcast with additional notice of infringement. Entropic hereby
23   incorporates its infringement contentions into this Second Amended Complaint by
24   reference.
25            172. Entropic’s infringement contentions set forth Entropic’s infringement
26   positions in detail, and they include charts setting forth how each Accused Product
27   specifically infringed each Asserted Patent.
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 1            173. In particular, Entropic identified how Comcast’s development and use of a
 2   PMA system that generates and transacts D3.1 downstream (DS) profiles infringes upon
 3   Entropic’s ’682 Patent.
 4            174. Comcast thereafter analyzed the infringement contentions and has engaged
 5   in thorough discussions with Entropic regarding the substance of these contentions.
 6            175. Thus, Comcast has been aware that it infringed Patents-in-Suit since at least
 7   September 15, 2023.
 8            176. To date, Comcast has continued its wrongful and willful use of the Patents-
 9   in-Suit, and has further continued its attempts to shield itself from liability for its
10   wrongful use thereof.
11            177. Comcast’s continued sale of the Accused Products despite its knowledge of
12   the infringement set forth in Entropic’s original Complaint, Second Amended
13   Complaint, and Entropic’s infringement contentions demonstrates its intent to willfully
14   infringe the Patents-in-Suit.
15            4. MaxLinear’s SDNY Counterclaim
16            178. On December 1, 2023, MaxLinear, Inc. filed a Counterclaim against
17   Comcast, alleging that Comcast breached the nondisclosure agreement (the “NDA”) it
18   entered into with MaxLinear, Inc. and misappropriated MaxLinear, Inc.’s trade secrets.
19   See Comcast Cable Communications Management, LLC, et al. v. MaxLinear, Inc., Case
20   No. 1:23-cv-04436-AKH, DE 88 (S.D.N.Y. Dec. 1, 2023). This Counterclaim is hereby
21   incorporated into this Second Amended Complaint by reference.
22            179. In its Counterclaim, MaxLinear, Inc. alleges that Comcast intentionally,
23   and in violation of the NDA, capitalized off of MaxLinear’s breakthrough FDX
24   technology by first convincing MaxLinear to disclose that technology to Comcast, and
25   then by taking credit for technology and divulging the information it learned to
26   MaxLinear’s competitor.
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 1            187. At the time, millions of dwellings and businesses across the United States
 2   often already had existing coaxial cable (“coax”) deployed throughout the premises to
 3   provide traditional television programming services to various rooms. However, this
 4   cabling was not designed or envisaged as a two-way and point-to-point network, nor a
 5   network capable of carrying high speed digital data traffic. The coax was deployed as a
 6   “tree” topology which simply splits the signal coming from an external source (the cable
 7   or satellite feed) for distribution of video content to the various locations on the premises
 8   in the “downlink” direction only. Thus, it was impossible to simply use this existing
 9   cable to make the new point-to-point high-quality network connections between devices
10   located on the premises desired by the cable and satellite providers.
11            188. Entropic Inc. tackled the problem and managed what was considered
12   unlikely or impossible—to make a high-speed point-to-point digital communication
13   network using existing coax installations. This required substantial inventive effort that
14   is embodied by the Patents in suit. For example, one of the significant challenges faced
15   by Entropic Inc. was the varying nature of the exact topology of existing on-premises
16   coax infrastructure that a network architecture would have to handle. The topology and
17   types of devices (such as passive or active splitters, their characteristics, etc.) greatly
18   influence the environment for signals transferred from node to node.
19            189. Entropic Inc. later founded an organization to standardize the networking
20   architecture and promote its use. This became known as the Multimedia over Coax
21   Alliance, or “MoCA.” That acronym has also come into common usage as the name
22   given to the networking architecture itself—now embodied in the MoCA standards. The
23   technology defined in the MoCA standards enables the point-to-point high-quality
24   network so badly needed by cable and satellite providers. Crucially it also provides the
25   operators the ability to deploy their services without the enormously costly effort of
26   installing Ethernet or similar cabling to carry the data.
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 1            190. There have been several iterations of the MoCA standards, beginning with
 2   MoCA 1.0, which was ratified in 2006. Since 2006, MoCA has ratified subsequent
 3   versions of the MoCA standards, including MoCA 1.1 and MoCA 2.0.
 4            191. The MoCA standards ensure network robustness along with inherent low
 5   packet error rate performance and very low latency that is relatively independent of
 6   network load. The logical network model of the MoCA network is significantly different
 7   from the underlying on-premises legacy coaxial network. For example, due to the effects
 8   of splitter jumping and reflections, the channel characteristics for a link between two
 9   MoCA nodes may be dramatically different from a link between any other two MoCA
10   nodes.
11            192. The Network Patents (the ’518 and ’249 Patents) and the OFDMA
12   Patent (the ’0,566 Patent) describe MoCA networks, including how data
13   communicated via MoCA networks is modulated by full-mesh pre-equalization
14   techniques known as Adaptive Constellation Multitone (ACMT), a form of OFDM
15   modulation.
16            193. As described in the Network Coordinator Patent (the ’7,566 Patent) and
17   the Node Admission Patents (the ’759 and ’802 Patents), a particular MoCA node,
18   known as a Network Coordinator, controls the admission of nodes to the MoCA
19   Network. The Network Coordinator sends out a variety of data packets using a
20   modulation profile that all the MoCA nodes can receive. For broadcast and multicast
21   transmissions, a broadcast bitloading profile can be calculated and used for each node
22   receiving the transmissions in the MoCA network.
23            194. MoCA nodes use a modulation profile for every point-to-point link. A
24   variety of probe messages are transmitted by the MoCA nodes and used to create
25   modulation profiles, optimize performance, and allow for various calibration
26   mechanisms. In order to maintain network performance as network conditions change,
27   the MoCA standards define techniques to maintain optimized point-to-point and
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 1   broadcast links between all of the MoCA nodes. The Link Maintenance Patents (the
 2   ’450 and ’539 Patents) describe link maintenance operations involving the processing
 3   of probe messages at regular intervals to recalculate parameters such as modulation
 4   profile and transmit power.
 5            195. This MoCA network allows for devices (MoCA nodes) connected to a
 6   MoCA network to communicate data formatted in a variety of formats. The Packet
 7   Aggregation Patent (the ’910 Patent), for example, describes the communication of
 8   data packets in an Ethernet format, via the on-premises coaxial network without the need
 9   to deploy a separate physical network on the premises.
10            196. The Clock Sync Patent (the ’681 Patent) describes the synchronization
11   of the clocks of each MoCA node in the network with a master clock provided by the
12   Network Coordinator as these transmissions are fully coordinated.
13            197. The MoCA standards and the PQoS Flow Patents (the ’213 and ’422
14   Patents) describe how particular MoCA nodes can request additional network resources
15   and/or transmission opportunities. This allows the MoCA node to transfer data more
16   quickly across the MoCA network by borrowing resources that have been scheduled to
17   other MoCA nodes.
18            198. These technological developments enable users to avoid the significant
19   costs associated with rewiring their home or business in order to deploy a number of
20   devices throughout the premises. Further, these technological developments allow
21   services requiring reliable, high-speed data and video communications to be provided to
22   the user while utilizing the on-premises coaxial network already present in the user’s
23   home or business.
24            199. Entropic Inc. spearheaded MoCA, and its founders are the inventors of
25   several patents that cover various mandatory aspects of the MoCA standards. In other
26   words, by conforming to the MoCA standards, a product necessarily practices those
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 1   patents, either by itself, as a part of a MoCA-compliant system, or in the method in
 2   which it operates.
 3                   THE ACCUSED MOCA INSTRUMENTALITIES AND
 4                                    ACCUSED SERVICES
 5            200. Comcast utilizes various instrumentalities, deployable as nodes in a MoCA-
 6   compliant coaxial cable network.
 7            201. Comcast deploys the instrumentalities to, inter alia, provide a whole-
 8   premises DVR network over an on-premises coaxial cable network, with components
 9   including gateway devices (including, but not limited to, the XG1-A, XG1v3, XG1v4,
10   XG2v2, and devices that operate in a similar matter) and client devices (including, but
11   not limited to, the Arris DCX3200, Arris MR150CNM, Pace PR150BNM, Pace
12   PX032ANI, Pace PXD01ANI, Samsung SR150BNM, and devices that operate in a
13   similar manner) as nodes operating with data connections compliant with MoCA 1.0,
14   1.1, and/or 2.0. Such components are referred to herein as the “Accused MoCA
15   Instrumentalities.” The MoCA-compliant services offered by Comcast employing the
16   Accused MoCA Instrumentalities, including the operation of a MoCA-compliant
17   network in which such instrumentalities are deployed, are referred to herein as the
18   “Accused Services.”
19            202.   An exemplary illustration of the topology of various Accused MoCA
20   Instrumentalities in a Comcast deployment is pictured below. 11
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       This is an example of the products used in the infringing network and is not intended
     to limit the scope of products accused of infringement.
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15            203. Upon information and belief, the Accused MoCA Instrumentalities form
16   networks over a coaxial cable network in accordance with MoCA 1.0, 1.1, and/or 2.0.
17            204. Comcast’s business includes the provision of Accused Services to its
18   customers, by means of the Accused MoCA Instrumentalities.
19            205. Most commonly, the Accused Services are offered and provided in
20   exchange for fees paid to Comcast.
21            206. Comcast itself also sometimes tests and demonstrates the Accused
22   Services, by means of the Accused MoCA Instrumentalities.
23            207. In some deployments of the Accused MoCA Instrumentalities and the
24   performance of the Accused Services, Comcast uses one or more of: the XG1-A, XG1v3,
25   XG1v4, XG2v2, Arris DCX3200, Arris MR150CNM, Pace PR150BNM, Pace
26   PX032ANI, Pace PXD01ANI, Samsung SR150BNM and similarly operating devices,
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 1   to provide signals, programming and content utilizing a data connection carried over a
 2   coaxial cable network in accordance with the MoCA standards.
 3            208. In October 2010, Chris Albano, in his capacity as Comcast’s senior
 4   director/CPE and home networking stated, “The whole world is moving to MoCA. We
 5   at Comcast have made the decision that all new products will have MoCA embedded
 6   into them.” 12
 7            209. Upon information and belief, Mr. Albano and/or other authorized Comcast
 8   personnel authorized the publication and attribution of the preceding quotation to Mr.
 9   Albano.
10            210. Mr. Albano further stated in October 2010, in his capacity as Comcast’s
11   senior director/CPE and home networking that, “everyone is moving toward building
12   MoCA in new devices. . . When you put MoCA (filters) in a home, you would be
13   blocking MoCA energy and the home networking revolution.”13
14            211. Upon information and belief, Mr. Albano and/or other authorized Comcast
15   personnel authorized the publication and attribution of the preceding quotation to Mr.
16   Albano.
17            212. Comcast was aware of its deployment and use of MoCA at least as early as
18   the later of its involvement with MoCA and six years prior to the filing of this complaint.
19            213. Upon information and belief, Comcast was aware that Entropic Inc.
20   invented technology underlying the MoCA standards. Accordingly, such Entropic, Inc.
21   technology would be incorporated into any instrumentality compliant with the MoCA
22   standards.
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           https://www.cablefax.com/archives/tech-workshops-home-networking-upstream-
     capacity-and-doing-the-splits.
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           https://www.cablefax.com/archives/tech-workshops-home-networking-upstream-
     capacity-and-doing-the-splits.
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 1            214. Upon information and belief, Comcast and/or its subsidiaries was a member
 2   of MoCA beginning in 2010, which provided Comcast full access to all then-existing
 3   versions of the MoCA standards.
 4            215. Upon information and belief, Comcast was aware that Entropic Inc.
 5   intended to and did pursue patent protection for technology related to MoCA, at least as
 6   early as the later of its involvement with MoCA and the issue date of the Patents-in-Suit.
 7            216. When Comcast obtained, deployed and/or used instrumentalities with
 8   MoCA functionality not provided by Entropic Inc., Comcast knew or should have known
 9   that Entropic Inc. had provided no authorization for such activities, for example by a
10   patent license.
11            217. Upon information and belief, when Comcast obtained, deployed and/or
12   used instrumentalities with MoCA functionality not provided by Entropic Inc., Comcast
13   failed to investigate whether Entropic Inc. authorized the use of Entropic Inc.’s patents
14   for such activity.
15            218. Alternatively, upon information and belief, when Comcast obtained,
16   deployed and/or used instrumentalities with MoCA functionality not provided by
17   Entropic Inc., Comcast knew the use of Entropic Inc.’s patents for such activity was not
18   authorized by Entropic Inc.
19                                JURISDICTION AND VENUE
20            219. This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331
21   and 1338(a) because the claims herein arise under the patent laws of the United States,
22   35 U.S.C. § 1 et seq., including 35 U.S.C. § 271.
23            220. Venue in this Judicial District is proper under 28 U.S.C. § 1400(b) because
24   Comcast has regular and established places of business in this District. The defendants,
25   by themselves and/or through their agents have committed acts of patent infringement
26   within the State of California and in this Judicial District by making, importing, using,
27   selling, offering for sale, and/or leasing the Accused MoCA Instrumentalities, as well as
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 1   Accused Services employing the Accused MoCA Instrumentalities that comply with one
 2   or more of MoCA 1.0, 1.1, and/or 2.0.
 3            221. This Court has general personal jurisdiction over Comcast Corp. because it
 4   conducts systematic and regular business within the State of California by, inter alia,
 5   providing cable television, internet, and phone services to businesses and residents
 6   throughout this State. Comcast Corp.’s website states that, “Comcast is deeply
 7   committed to California, where our nearly 5,000 employees serve more than 3 million
 8   customers throughout the state.”14
 9            222. Upon information and belief, Comcast Management has a regular and
10   established place of business in the State of California at 3055 Comcast Place,
11   Livermore, California 94551.
12            223. The Court has personal jurisdiction over Comcast Corp., Comcast
13   Communications, and Comcast Management because they have committed acts of
14   infringement within the State of California and within this Judicial District through, for
15   example, making infringing networks using the Accused MoCA Instrumentalities, and
16   using the Accused MoCA Instrumentalities to provide the Accused Services in the State
17   of California and this Judicial District.
18            224. Upon information and belief, Comcast Corp., Comcast Communications,
19   and/or Comcast Management, by themselves and/or through their agents offer various
20   telecommunication services throughout the United States. Comcast operates and
21   maintains a nationwide television and data network through which it sells, leases, and
22   offers products and services, including the Accused MoCA Instrumentalities, to
23   businesses, consumers, and government agencies. Through its subsidiaries, Comcast
24   Corp. offers to sell, sells, and provides “Comcast” and “Xfinity” branded products and
25   services, including, set top boxes and digital video, audio, and other content services to
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       https://california.comcast.com/about/#:%7E:text=Comcast%20is%20deeply%20com
     mitted%20to,smart%20home%E2%80%9D%20and%20phone%20service.
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 1   customers. Subscribers to Comcast’s television services receive one or more receivers
 2   and/or set-top boxes, within this Judicial District.
 3            225. Upon information and belief, the Accused Services are provided using the
 4   Accused MoCA Instrumentalities.
 5            226. Upon information and belief, Comcast Corp., Comcast Communications,
 6   and/or Comcast Management, by themselves and/or through their agents Comcast Santa
 7   Maria and/or Comcast Lompoc operate their businesses through, inter alia, offices,
 8   warehouses, storefronts, and/or other operational locations within this Judicial District,
 9   including, for example, at the Xfinity by Comcast stores located in this Judicial District
10   at 685 East Betteravia Rd., Santa Maria, California 93454; and 1145 N. H Street, Suite
11   B, Lompoc, California 93436. Comcast holds out these locations as its own through the
12   use of branding on the locations themselves.
13            227. Comcast lists these Xfinity by Comcast stores on its website and holds them
14   out as places where customers can obtain the Accused MoCA Instrumentalities.
15            228. Upon information and belief, one or more of the defendants own and/or
16   leases the premises where these Xfinity by Comcast stores are located.
17            229. Upon information and belief, these Xfinity by Comcast stores are staffed
18   by persons directly employed by Comcast, many of whom live in this Judicial District.
19            230. Upon information and belief, one or more of the defendants has engaged in
20   regular and established business at physical places within this Judicial District such as
21   at these two Xfinity by Comcast stores.
22            231. Upon information and belief, Comcast employs and/or contracts with
23   persons and directs them to install, service, repair, and/or replace equipment, as
24   appropriate, in this Judicial District.
25            232. Upon information and belief, in each of these stores and/or service centers,
26   Comcast owns and stores the Accused MoCA Instrumentalities and demonstrates the
27   Accused Services provided via those products to Comcast customers.
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 1            233. Comcast has adopted and ratified the Comcast and Xfinity-branded
 2   locations identified in this Judicial District. The Comcast website advertises Comcast
 3   service packages available from Comcast-authorized retailers in this Judicial District,
 4   and prospective employees can find Comcast job listings in this Judicial District.
 5   Furthermore, the “corporate” section of Comcast’s main website has a section containing
 6   “Special Information Regarding California Residents’ Privacy Rights,” which
 7   demonstrates that Comcast is purposefully holding itself out as providing products and
 8   services in California.
 9            234. Upon information and belief, Comcast Corp., and/or Comcast
10   Communications, collectively, by themselves and/or through their agent Comcast
11   Management provides the Accused Services throughout the United States and in this
12   Judicial District.
13            235. Upon information and belief, Comcast Corp., and/or Comcast
14   Management, collectively, by themselves, and/or through their agent, Comcast
15   Communications sells, and offers for sale, and provides the Accused Services and the
16   Accused MoCA Instrumentalities throughout the United States and in this Judicial
17   District.
18            236. The Accused Services are available for subscription from various physical
19   stores, including those at 685 East Betteravia Rd., Santa Maria, California 93454; and
20   1145 N. H Street, Suite B, Lompoc, California 93436.
21            237. The Accused MoCA Instrumentalities, provided by Comcast to supply the
22   Accused Services are provided to customers in this Judicial District and may be obtained
23   by customers from physical locations in this District, including those at 685 East
24   Betteravia Rd., Santa Maria, California 93454; and 1145 N. H Street, Suite B, Lompoc,
25   California 93436.
26            238. Venue is further proper because Comcast has committed and continues to
27   commit acts of patent infringement in this Judicial District, including, making, using,
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 1   importing, offering to sell, and/or selling Accused Services and Accused MoCA
 2   Instrumentalities, and MoCA networks, and thereafter providing Accused Services in
 3   this Judicial District, including by Internet sales and sales via retail and wholesale stores.
 4   Furthermore, for example, Comcast deploys Accused MoCA Instrumentalities to many
 5   thousands of locations (customer premises) in this Judicial District and subsequently, by
 6   means of those Accused MoCA Instrumentalities, uses the claimed inventions at those
 7   locations in this Judicial District. Comcast infringes by inducing and contributing to acts
 8   of patent infringement in this Judicial District and/or committing at least a portion of
 9   any other infringements alleged herein in this Judicial District.
10            239. Comcast continues to conduct business in this Judicial District, including
11   the acts and activities described in the preceding paragraph.
12                                              COUNT I
13                                   (Infringement of the ’518 Patent)
14            240. Entropic incorporates by reference each allegation of the paragraphs above
15   as if fully set forth herein.
16            241. The ’518 Patent duly issued on November 13, 2007 from an application
17   filed December 18, 2002, an application filed August 29, 2002 and, inter alia, a
18   provisional application filed August 30, 2001.
19            242. Entropic owns all substantial rights, interest, and title in and to the ’518
20   Patent, including the sole and exclusive right to prosecute this action and enforce the
21   ’518 Patent against infringers, and to collect damages for all relevant times.
22            243. The ’518 Patent is one of the Network Patents, and is generally directed to,
23   inter alia, broadband local area data networks using on-premises coaxial cable wiring
24   for interconnection of devices. Probe messages can be “sent between devices to
25   characterize the communication channel and determine optimum bit loading” for
26   communicating data between devices. ’518 Patent, Abstract. The ’518 Patent has four
27   claims, of which claims 1 and 4 are independent. At least these claims of the ’518 Patent
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 1   are directed to the creation of the MoCA network using the on-premises coaxial cable
 2   wiring. A true and accurate copy of the ’518 Patent is attached hereto as Exhibit A.
 3            244. The ’518 Patent is directed to patent-eligible subject matter pursuant to
 4   35 U.S.C. § 101.
 5            245. The ’518 Patent is valid and enforceable, and presumed as such, pursuant
 6   to 35 U.S.C. § 282.
 7            246. Comcast deploys one or more of the Accused MoCA Instrumentalities (e.g.
 8   XG1-A, XG1v3, XG1v4, XG2v2, and Arris DCX3200, Arris MR150CNM, Pace
 9   PR150BNM, Pace PX032ANI, Pace PXD01ANI, and/or Samsung SR150BNM and
10   similarly operating devices) in connection with operating and providing the Accused
11   Services.
12            247. The Accused MoCA Instrumentalities deployed by Comcast to customer
13   premises remain the property of Comcast while deployed.
14            248. The Accused MoCA Instrumentalities operate while deployed in a manner
15   controlled and intended by Comcast.
16            249. As set forth in the infringement contentions that were served on Comcast
17   on September 29, 2023 (attached hereto as Exhibit B),15 any product or system operating
18   in a MoCA network compliant with the charted provisions of MoCA 1.0, 1.1, and/or 2.0
19   necessarily infringes at least claim 1 of the ’518 Patent.
20            250. Each aspect of the functioning of the Accused MoCA Instrumentalities
21   described in the claim chart operates while deployed to customer premises in a manner
22   controlled and intended by Comcast.
23            251. Comcast provides no software, support or other facility to customers to
24   modify any aspect of the functioning described in the claim chart of the Accused MoCA
25   Instrumentalities while deployed to customer premises.
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27   15
          The prior claim chart for this patent can be found at DE 67.
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 1   with MoCA 1.0, 1.1, and/or 2.0 to deliver Comcast services would necessarily infringe
 2   one or more claims of the ’518 Patent.
 3            270. Since learning of the ’518 Patent and its infringing activities, Comcast has
 4   failed to cease its infringing activities.
 5            271. Comcast’s customers and subscribers directly infringe at least claim 1 of
 6   the ’518 Patent by using the Accused MoCA Instrumentalities in connection with the
 7   Accused Services provided by Comcast.
 8            272. Comcast actively induces its customers’ and subscribers’ direct
 9   infringement by providing the Accused Services and associated support.
10            273. For example, Comcast actively induces infringement of at least claim 1 of
11   the ’518 Patent by providing the Accused MoCA Instrumentalities to Comcast
12   customers with specific instructions and/or assistance (including installation and
13   maintenance) regarding the instantiation of a MoCA network and the use of the Accused
14   MoCA Instrumentalities in a manner that infringes the ’518 Patent.
15            274. Comcast aids, instructs, supports, and otherwise acts with, the intent to
16   cause an end user to make and/or use the MoCA network and/or use the Accused MoCA
17   Instrumentalities in a manner that infringes each and every element of at least claim 1 of
18   the ’518 Patent.
19            275. Additionally, Comcast contributes to the customers’ and subscribers’ direct
20   infringement. Comcast provides at least the Accused MoCA Instrumentalities that create
21   and are at least substantially all of a MoCA network to be used to infringe at least claim
22   1 of the ’518 Patent.
23            276. The Accused MoCA Instrumentalities have no substantial noninfringing
24   uses. When an end user uses the Accused MoCA Instrumentalities in connection with
25   the Accused Services provided by Comcast, the end user necessarily directly infringes
26   at least claim 1 of the ’518 Patent. The Accused MoCA Instrumentalities are therefore
27   especially made or especially adapted for use in an infringing manner.
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 1            277. Comcast’s inducement of, and contribution to, the direct infringement of at
 2   least claim 1 of the ’518 Patent has been, and is, continuous and ongoing through the
 3   acts described above in connection with Comcast’s provision of the Accused Services.
 4            278. Comcast’s infringement of the ’518 Patent is, has been, and continues to be
 5   willful, intentional, deliberate, and/or in conscious disregard for Entropic’s rights under
 6   the patent.
 7            279. Entropic has been damaged as a result of the infringing conduct alleged
 8   above. Comcast is liable to Entropic in an amount that compensates Entropic for
 9   Comcast’s infringement, which by law cannot be less than a reasonable royalty, together
10   with interest and costs as fixed by this Court under 35 U.S.C. § 284.
11            280. Upon information and belief, there is no duty to mark any instrumentality
12   with the ’518 Patent in accordance with 35 U.S.C. § 287.
13                                              COUNT II
14                                   (Infringement of the ’249 Patent)
15            281. Entropic incorporates by reference each allegation of the paragraphs above
16   as if fully set forth herein.
17            282. The ’249 Patent duly issued on September 22, 2009 from an application
18   filed July 21, 2001, and a provisional application filed May 4, 2001.
19            283. Entropic owns all substantial rights, interest, and title in and to the ’249
20   Patent, including the sole and exclusive right to prosecute this action and enforce the
21   ’249 Patent against infringers, and to collect damages for all relevant times.
22            284. The ’249 Patent is one of the Network Patents, and is generally directed to,
23   inter alia, broadband cable networks that allow devices to communicate directly over
24   the existing coaxial cable with its current architecture without the need to modify the
25   existing cable infrastructure. Each device communicates with the other devices in the
26   network and establishes parameters to overcome channel impairments in the coaxial
27   cable network. ’249 Patent, col. 3, lines 11–22. The ’249 Patent has 17 claims, of which
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 1   claims 1, 5, and 10 are independent. At least these claims of the ’249 Patent are directed
 2   to the creation of the MoCA network using the on-premises coaxial cable wiring. A true
 3   and accurate copy of the ’249 Patent is attached hereto as Exhibit C.
 4            285. The ’249 Patent is directed to patent-eligible subject matter pursuant to
 5   35 U.S.C. § 101.
 6            286. The ’249 Patent is valid and enforceable, and presumed as such, pursuant
 7   to 35 U.S.C. § 282.
 8            287. Comcast deploys one or more of the Accused MoCA Instrumentalities (e.g.
 9   XG1-A, XG1v3, XG1v4, XG2v2, and Arris DCX3200, Arris MR150CNM, Pace
10   PR150BNM, Pace PX032ANI, Pace PXD01ANI, and/or Samsung SR150BNM and
11   similarly operating devices) in connection with operating and providing the Accused
12   Services.
13            288. The Accused MoCA Instrumentalities deployed by Comcast to customer
14   premises remain the property of Comcast while deployed.
15            289. The Accused MoCA Instrumentalities operate while deployed in a manner
16   controlled and intended by Comcast.
17            290. As set forth in the infringement contentions that were served on Comcast
18   on September 29, 2023 (attached hereto as Exhibit D), 16 any product or system
19   operating in a MoCA network compliant with the charted provisions of MoCA 1.0, 1.1,
20   and/or 2.0 necessarily infringes at least claim 10 of the ’249 Patent.
21            291. Each aspect of the functioning of the Accused MoCA Instrumentalities
22   described in the claim chart operates while deployed to customer premises in a manner
23   controlled and intended by Comcast.
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          The prior claim chart for this patent can be found at DE 67.
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          CORRECTED SECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
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 1   with MoCA 1.0, 1.1, and/or 2.0 to deliver Comcast services would necessarily infringe
 2   one or more claims of the ’249 Patent.
 3            310. Since learning of the ’249 Patent and its infringing activities, Comcast has
 4   failed to cease its infringing activities.
 5            311. Comcast’s customers and subscribers directly infringe at least claim 10 of
 6   the ’249 Patent by using the Accused MoCA Instrumentalities in connection with the
 7   Accused Services provided by Comcast.
 8            312. Comcast actively induces its customers’ and subscribers’ direct
 9   infringement by providing the Accused Services and associated support.
10            313. For example, Comcast actively induces infringement of at least claim 10 of
11   the ’249 Patent by providing the Accused MoCA Instrumentalities to Comcast
12   customers with specific instructions and/or assistance (including installation and
13   maintenance) regarding the instantiation of a MoCA network and the use of the Accused
14   MoCA Instrumentalities in a manner that infringes the ’249 Patent.
15            314.   Comcast aids, instructs, supports, and otherwise acts with the intent to
16   cause an end user to make and/or use the MoCA network and/or use the Accused MoCA
17   Instrumentalities in a manner that infringes every element of at least claim 10 of the ’249
18   Patent.
19            315. Additionally, Comcast contributes to the customers’ and subscribers’ direct
20   infringement. Comcast provides at least the Accused MoCA Instrumentalities that create
21   and are at least substantially all of a MoCA network to be used to infringe at least claim
22   10 of the ’249 Patent.
23            316. The Accused MoCA Instrumentalities have no substantial noninfringing
24   uses. When an end user uses the Accused MoCA Instrumentalities in connection with
25   the Accused Services provided by Comcast, the end user necessarily directly infringes
26   at least claim 10 of the ’249 Patent. The Accused MoCA Instrumentalities are therefore
27   especially made or especially adapted for use in an infringing manner.
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        CORRECTED SECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
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 1            317. Comcast’s inducement of, and contribution to, the direct infringement of at
 2   least claim 10 of the ’249 Patent has been, and is, continuous and ongoing through the
 3   acts described above in connection with Comcast’s provision of the Accused Services.
 4            318. Comcast’s infringement of the ’249 Patent is, has been, and continues to be
 5   willful, intentional, deliberate, and/or in conscious disregard for Entropic’s rights under
 6   the patent.
 7            319. Entropic has been damaged as a result of the infringing conduct alleged
 8   above. Comcast is liable to Entropic in an amount that compensates Entropic for
 9   Comcast’s infringement, which by law cannot be less than a reasonable royalty, together
10   with interest and costs as fixed by this Court under 35 U.S.C. § 284.
11            320. Entropic is aware of no obligation to mark any instrumentality with the ’249
12   Patent in accordance with 35 U.S.C. § 287.
13                                             COUNT III
14                                   (Infringement of the ’759 Patent)
15            321. Entropic incorporates by reference each allegation of the paragraphs above
16   as if fully set forth herein.
17            322. The ’759 Patent duly issued on February 15, 2011 from an application filed
18   July 12, 2004, an application filed August 29, 2002, and, inter alia a provisional
19   application filed August 30, 2001.
20            323. Entropic owns all substantial rights, interest, and title in and to the ’759
21   Patent, including the sole and exclusive right to prosecute this action and enforce the
22   ’759 Patent against infringers, and to collect damages for all relevant times.
23            324. The ’759 Patent is one of the Node Admission Patents, and is generally
24   directed to, inter alia, broadband cable networks that allow devices to communicate
25   directly over the existing coaxial cable with its current architecture without the need to
26   modify the existing cable infrastructure. Each device communicates with the other
27   devices in the network and establishes a common modulation scheme between the
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        CORRECTED SECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
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 1   devices in the network. ’759 Patent, Abstract. The ’759 Patent has 22 claims, of which
 2   claims 1–7, 14, 20–22 are independent. At least these claims of the ’759 Patent are
 3   directed to a variety of techniques for establishing a modulation scheme for
 4   communications between nodes in the MoCA network. A true and correct copy of the
 5   ’759 Patent is attached hereto as Exhibit E.
 6            325. The ’759 Patent is directed to patent-eligible subject matter pursuant to
 7   35 U.S.C. § 101.
 8            326. The ’759 Patent is valid and enforceable, and presumed as such, pursuant
 9   to 35 U.S.C. § 282.
10            327. Comcast deploys one or more of the Accused MoCA Instrumentalities (e.g.
11   XG1-A, XG1v3, XG1v4, XG2v2, and Arris DCX3200, Arris MR150CNM, Pace
12   PR150BNM, Pace PX032ANI, Pace PXD01ANI, and/or Samsung SR150BNM and
13   similarly operating devices) in connection with operating and providing the Accused
14   Services.
15            328. The Accused MoCA Instrumentalities deployed by Comcast to customer
16   premises remain the property of Comcast while deployed.
17            329. The Accused MoCA Instrumentalities operate while deployed in a manner
18   controlled and intended by Comcast.
19            330. As set forth in the infringement contentions that were served on Comcast
20   on September 29, 2023 (attached hereto as Exhibit F),17 any product or system operating
21   in a MoCA network compliant with the charted provisions of MoCA 1.0, 1.1, and/or 2.0
22   necessarily infringes at least claim 2 of the ’759 Patent.
23            331. Each aspect of the functioning of the Accused MoCA Instrumentalities
24   described in the claim chart operates while deployed to customer premises in a manner
25   controlled and intended by Comcast.
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27   17
          The prior claim chart for this patent can be found at DE 67.
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          CORRECTED SECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
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 1   its familiarity with, and access to, the MoCA standards, Comcast knew, or was willfully
 2   blind to the fact, that use (by Comcast or its customers) of instrumentalities compliant
 3   with MoCA 1.0, 1.1, and/or 2.0 to deliver Comcast services would necessarily infringe
 4   one or more claims of the ’759 Patent.
 5            350. Since learning of the ’759 Patent and its infringing activities, Comcast has
 6   failed to cease its infringing activities.
 7            351. Comcast’s customers and subscribers directly infringe at least claim 2 of
 8   the ’759 Patent by using the Accused MoCA Instrumentalities in connection with the
 9   Accused Services provided by Comcast.
10            352. Comcast actively induces its customers’ and subscribers’ direct
11   infringement by providing the Accused Services and associated support.
12            353. For example, Comcast actively induces infringement of at least claim 2 of
13   the ’759 Patent by providing the Accused MoCA Instrumentalities to Comcast
14   customers with specific instructions and/or assistance (including installation and
15   maintenance) regarding the instantiation of a MoCA network and the use of the Accused
16   MoCA Instrumentalities to infringe the ’759 Patent.
17            354. Comcast aids, instructs, supports, and otherwise acts with the intent to
18   cause an end user to make and/or use the MoCA network and/or use the Accused MoCA
19   Instrumentalities to infringe every element of at least claim 2 of the ’759 Patent.
20            355. Additionally, Comcast contributes to the customers’ and subscribers’ direct
21   infringement. Comcast provides at least the Accused MoCA Instrumentalities that create
22   and are at least substantially all of a MoCA network to be used to infringe at least claim
23   2 of the ’759 Patent.
24            356. The Accused MoCA Instrumentalities have no substantial noninfringing
25   uses. When an end user uses the Accused MoCA Instrumentalities in connection with
26   the Accused Services provided by Comcast, the end user necessarily directly infringes
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        CORRECTED SECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
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 1   at least claim 2 of the ’759 Patent. The Accused MoCA Instrumentalities are therefore
 2   especially made or especially adapted for use in an infringing manner.
 3            357. Comcast’s inducement of, and contribution to, the direct infringement of at
 4   least claim 2 of the ’759 Patent has been, and is, continuous and ongoing through the
 5   acts described above in connection with Comcast’s provision of the Accused Services.
 6            358. Comcast’s infringement of the ’759 Patent is, has been, and continues to be
 7   willful, intentional, deliberate, and/or in conscious disregard for Entropic’s rights under
 8   the patent.
 9            359. Entropic has been damaged as a result of the infringing conduct alleged
10   above. Comcast is liable to Entropic in an amount that compensates Entropic for
11   Comcast’s infringement, which by law cannot be less than a reasonable royalty, together
12   with interest and costs as fixed by this Court under 35 U.S.C. § 284.
13            360. Upon information and belief, there is no duty to mark any instrumentality
14   with the ’759 Patent in accordance with 35 U.S.C. § 287.
15                                             COUNT IV
16                                   (Infringement of the ’802 Patent)
17            361. Entropic incorporates by reference each allegation of the paragraphs above
18   as if fully set forth herein.
19            362. The ’802 Patent duly issued on December 27, 2011 from an application
20   filed December 2, 2005, and a provisional application filed December 2, 2004.
21            363. Entropic owns all substantial rights, interest, and title in and to the ’802
22   Patent, including the sole and exclusive right to prosecute this action and enforce the
23   ’802 Patent against infringers, and to collect damages for all relevant times.
24            364. The ’802 Patent is one of the Node Admission Patents, and is generally
25   directed to, inter alia, broadband cable networks that allow devices to communicate
26   directly over the existing coaxial cable with its current architecture without the need to
27   modify the existing cable infrastructure. Each device communicates with the other
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        CORRECTED SECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
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 1   devices in the network and establishes the best modulation and other transmission
 2   parameters that is optimized and periodically adapted to the channel between each pair
 3   of devices. ’802 Patent, col. 4, lines 7–24. The ’802 Patent has four claims, all of which
 4   are independent. At least these claims of the ’802 Patent are directed to a variety of
 5   techniques for establishing a modulation scheme for communications between nodes in
 6   the MoCA network. A true and accurate copy of the ’802 Patent is attached hereto as
 7   Exhibit G.
 8            365. The ’802 Patent is directed to patent-eligible subject matter pursuant to 35
 9   U.S.C. § 101.
10            366. The ’802 Patent is valid and enforceable, and presumed as such, pursuant
11   to 35 U.S.C. § 282.
12            367. Comcast deploys one or more of the Accused MoCA Instrumentalities (e.g.
13   XG1-A, XG1v3, XG1v4, XG2v2, and Arris DCX3200, Arris MR150CNM, Pace
14   PR150BNM, Pace PX032ANI, Pace PXD01ANI, and/or Samsung SR150BNM and
15   similarly operating devices) in connection with operating and providing the Accused
16   Services.
17            368. The Accused MoCA Instrumentalities deployed by Comcast to customer
18   premises remain the property of Comcast while deployed.
19            369. The Accused MoCA Instrumentalities operate while deployed in a manner
20   controlled and intended by Comcast.
21            370. As set forth in the infringement contentions that were served on Comcast
22   on September 29, 2023 (attached hereto as Exhibit H),18 any product or system operating
23   in a MoCA network compliant with the charted provisions of MoCA 1.0, 1.1, and/or 2.0
24   necessarily infringes at least claim 3 of the ’802 Patent.
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27   18
          The prior claim chart for this patent can be found at DE 67.
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          CORRECTED SECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
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 1   its familiarity with, and access to, the MoCA standards, Comcast knew, or was willfully
 2   blind to the fact, that use (by Comcast or its customers) of instrumentalities compliant
 3   with MoCA 1.0, 1.1, and/or 2.0 to deliver Comcast services would necessarily infringe
 4   one or more claims of the ’802 Patent.
 5            390. Since learning of the ’802 Patent and its infringing activities, Comcast has
 6   failed to cease its infringing activities.
 7            391. Comcast’s customers and subscribers directly infringe at least claim 3 of
 8   the ’802 Patent by using the Accused MoCA Instrumentalities in connection with the
 9   Accused Services provided by Comcast.
10            392. Comcast actively induces its customers’ and subscribers’ direct
11   infringement by providing the Accused Services and associated support.
12            393. For example, Comcast actively induces infringement of at least claim 3 of
13   the ’802 Patent by providing the Accused MoCA Instrumentalities to Comcast
14   customers with specific instructions and/or assistance (including installation and
15   maintenance) regarding the instantiation of a MoCA network and the use of the Accused
16   MoCA Instrumentalities to infringe the ’802 Patent.
17            394. Comcast aids, instructs, supports, and otherwise acts with the intent to
18   cause an end user to make and/or use the MoCA network and/or use the Accused MoCA
19   Instrumentalities to infringe every element of at least claim 3 of the ’802 Patent.
20            395. Additionally, Comcast contributes to the customers’ and subscribers’ direct
21   infringement. Comcast provides at least the Accused MoCA Instrumentalities that create
22   and are at least substantially all of a MoCA network to be used to infringe at least claim
23   3 of the ’802 Patent.
24            396. The Accused MoCA Instrumentalities have no substantial noninfringing
25   uses. When an end user uses the Accused MoCA Instrumentalities in connection with
26   the Accused Services provided by Comcast, the end user necessarily directly infringes
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        CORRECTED SECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
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 1   at least claim 3 of the ’802 Patent. The Accused MoCA Instrumentalities are therefore
 2   especially made or especially adapted for use in an infringing manner.
 3            397. Comcast’s inducement of, and contribution to, the direct infringement of at
 4   least claim 3 of the ’802 Patent has been, and is, continuous and ongoing through the
 5   acts described above in connection with Comcast’s provision of the Accused Services.
 6            398. Comcast’s infringement of the ’802 Patent is, has been, and continues to be
 7   willful, intentional, deliberate, and/or in conscious disregard for Entropic’s rights under
 8   the patent.
 9            399. Entropic has been damaged as a result of the infringing conduct alleged
10   above. Comcast is liable to Entropic in an amount that compensates Entropic for
11   Comcast’s infringement, which by law cannot be less than a reasonable royalty, together
12   with interest and costs as fixed by this Court under 35 U.S.C. § 284.
13            400. Upon information and belief, there is no duty to mark any instrumentality
14   with the ’802 Patent in accordance with 35 U.S.C. § 287.
15                                              COUNT V
16                                   (Infringement of the ’450 Patent)
17            401. Entropic incorporates by reference each allegation of the paragraphs above
18   as if fully set forth herein.
19            402. The ’450 Patent duly issued on January 14, 2014, from an application filed
20   September 19, 2005 and, inter alia, a provisional application filed December 2, 2004.
21            403. Entropic owns all substantial rights, interest, and title in and to the ’450
22   Patent, including the sole and exclusive right to prosecute this action and enforce the
23   ’450 Patent against infringers, and to collect damages for all relevant times.
24            404. The ’450 Patent is one of the Link Maintenance Patents, and is generally
25   directed to, inter alia, broadband cable networks that allow devices to communicate
26   directly over the existing coaxial cable with its current architecture without the need to
27   modify the existing cable infrastructure. Each device communicates with the other
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        CORRECTED SECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
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 1   devices in the network and establishes a common modulation scheme between the
 2   devices in the network. ’450 Patent, col. 4, lines 12-28. The ’450 Patent has 38 claims,
 3   of which, claim 1, 8, 27, 29, and 34 are independent. At least these claims of the ’450
 4   Patent are directed to a variety of techniques for determining a common modulation
 5   scheme for communications between nodes in the MoCA network. A true and accurate
 6   copy of the ’450 Patent is attached hereto as Exhibit I.
 7            405. The ’450 Patent is directed to patent-eligible subject matter pursuant to 35
 8   U.S.C. § 101.
 9            406. The ’450 Patent is valid and enforceable, and presumed as such, pursuant
10   to 35 U.S.C. § 282.
11            407. Comcast deploys one or more of the Accused MoCA Instrumentalities (e.g.
12   XG1-A, XG1v3, XG1v4, XG2v2, and Arris DCX3200, Arris MR150CNM, Pace
13   PR150BNM, Pace PX032ANI, Pace PXD01ANI, and/or Samsung SR150BNM and
14   similarly operating devices) in connection with operating and providing the Accused
15   Services.
16            408. The Accused MoCA Instrumentalities deployed by Comcast to customer
17   premises remain the property of Comcast while deployed.
18            409. The Accused MoCA Instrumentalities operate while deployed in a manner
19   controlled and intended by Comcast.
20            410. As set forth in the infringement contentions that were served on Comcast
21   on September 29, 2023 (attached hereto as Exhibit J),19 any product or system operating
22   in a MoCA network compliant with the charted provisions of MoCA 1.0, 1.1, and/or 2.0
23   necessarily infringes at least claim 29 of the ’450 Patent.
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27   19
          The prior claim chart for this patent can be found at DE 67.
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          CORRECTED SECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
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 1   its familiarity with, and access to, the MoCA standards, Comcast knew, or was willfully
 2   blind to the fact, that use (by Comcast or its customers) of instrumentalities compliant
 3   with MoCA 1.0, 1.1, and/or 2.0 to deliver Comcast services would necessarily infringe
 4   one or more claims of the ’450 Patent.
 5            430. Since learning of the ’450 Patent and its infringing activities, Comcast has
 6   failed to cease its infringing activities.
 7            431. Comcast’s customers and subscribers directly infringe at least claim 29 of
 8   the ’450 Patent by using the Accused MoCA Instrumentalities in connection with the
 9   Accused Services provided by Comcast.
10            432. Comcast actively induces its customers’ and subscribers’ direct
11   infringement by providing the Accused Services and associated support.
12            433. For example, Comcast actively induces infringement of at least claim 29 of
13   the ’450 Patent by providing the Accused MoCA Instrumentalities to Comcast
14   customers with specific instructions and/or assistance (including installation and
15   maintenance) regarding the instantiation of a MoCA network and the use of the Accused
16   MoCA Instrumentalities to infringe the ’450 Patent.
17            434. Comcast aids, instructs, supports, and otherwise acts with the intent to
18   cause an end user to make and/or use the MoCA network and/or use the Accused MoCA
19   Instrumentalities to infringe every element of at least claim 29 of the ’450 Patent.
20            435. Additionally, Comcast contributes to the customers’ and subscribers’ direct
21   infringement. Comcast provides at least the Accused MoCA Instrumentalities that create
22   and are at least substantially all of a MoCA network to be used to infringe at least claim
23   29 of the ’450 Patent.
24            436. The Accused MoCA Instrumentalities have no substantial noninfringing
25   uses. When an end user uses the Accused MoCA Instrumentalities in connection with
26   the Accused Services provided by Comcast, the end user directly infringes at least claim
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                                                  -71-
        CORRECTED SECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
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 1   29 of the ’450 Patent. The Accused MoCA Instrumentalities are especially made or
 2   especially adapted for use in an infringing manner.
 3            437. Comcast’s inducement of, and contribution to, the direct infringement of at
 4   least claim 29 of the ’450 Patent has been, and is, continuous and ongoing through the
 5   acts described above in connection with Comcast’s provision of the Accused Services.
 6            438. Comcast’s infringement of the ’450 Patent is, has been, and continues to be
 7   willful, intentional, deliberate, and/or in conscious disregard for Entropic’s rights under
 8   the patent.
 9            439. Entropic has been damaged as a result of the infringing conduct alleged
10   above. Comcast is liable to Entropic in an amount that compensates Entropic for
11   Comcast’s infringement, which by law cannot be less than a reasonable royalty, together
12   with interest and costs as fixed by this Court under 35 U.S.C. § 284.
13            440.   Upon information and belief, there is no duty to mark any instrumentality
14   with the ’450 Patent in accordance with 35 U.S.C. § 287.
15                                           COUNT VI
16                               (Infringement of the ’7,566 Patent)
17            441. Entropic incorporates by reference each allegation of the paragraphs above
18   as if fully set forth herein.
19            442. The ’7,566 Patent duly issued on April 9, 2019 from an application filed
20   February 7, 2017, an application filed September 19, 2005, and, inter alia, a provisional
21   application filed December 2, 2004.
22            443. Entropic owns all substantial rights, interest, and title in and to the ’7,566
23   Patent, including the sole and exclusive right to prosecute this action and enforce the
24   ’7,566 Patent against infringers, and to collect damages for all relevant times.
25            444. The ’7,566 Patent is the Network Coordinator Patent, and is generally
26   directed to, inter alia, broadband cable networks that allow devices to communicate
27   directly over the existing coaxial cable with its current architecture without the need to
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        CORRECTED SECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
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 1   modify the existing cable infrastructure. Each device communicates with the other
 2   devices in the network and establishes the best modulation and other transmission
 3   parameters that is optimized and periodically adapted to the channel between each pair
 4   of devices. ’7,566 Patent, col. 4, lines 23–39. The ’7,566 Patent has 20 claims, of which
 5   claims 1, 11, and 19 are independent. At least these claims of the ’7,566 Patent are
 6   directed to a variety of techniques for controlling the admission of nodes in the MoCA
 7   network. A true and accurate copy of the ’7,566 Patent is attached hereto as Exhibit K.
 8            445. The ’7,566 Patent is directed to patent-eligible subject matter pursuant to
 9   35 U.S.C. § 101.
10            446. The ’7,566 Patent is valid and enforceable, and presumed as such, pursuant
11   to 35 U.S.C. § 282.
12            447. Comcast deploys one or more of the Accused MoCA Instrumentalities (e.g.
13   XG1-A, XG1v3, XG1v4, XG2v2, and Arris DCX3200, Arris MR150CNM, Pace
14   PR150BNM, Pace PX032ANI, Pace PXD01ANI, and/or Samsung SR150BNM and
15   similarly operating devices) in connection with operating and providing the Accused
16   Services.
17            448. The Accused MoCA Instrumentalities deployed by Comcast to customer
18   premises remain the property of Comcast while deployed.
19            449. The Accused MoCA Instrumentalities operate while deployed in a manner
20   controlled and intended by Comcast.
21            450. As set forth in the infringement contentions that were served on Comcast
22   on September 29, 2023 (attached hereto as Exhibit L),20 any product or system operating
23   in a MoCA network compliant with the charted provisions of MoCA 1.0, 1.1, and/or 2.0
24   necessarily infringes at least claim 11 of the ’7,566 Patent.
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27   20
          The prior claim chart for this patent can be found at DE 67.
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          CORRECTED SECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
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 1   compliant with MoCA 1.0, 1.1, and/or 2.0 to deliver Comcast services would necessarily
 2   infringe one or more claims of the ’7,566 Patent.
 3            469. Since learning of the ’7,566 Patent and its infringing activities, Comcast
 4   has failed to cease its infringing activities.
 5            470. Comcast’s customers and subscribers directly infringe at least claim 11 of
 6   the ’7,566 Patent by using the Accused MoCA Instrumentalities in connection with the
 7   Accused Services provided by Comcast.
 8            471. Comcast actively induces its customers’ and subscribers’ direct
 9   infringement by providing the Accused Services through the Accused MoCA
10   Instrumentalities, and associated support.
11            472. For example, Comcast actively induces infringement of at least claim 11 of
12   the ’7,566 Patent by providing the Accused MoCA Instrumentalities to Comcast
13   customers with specific instructions and/or assistance (including installation and
14   maintenance) regarding the instantiation of a MoCA network and the use of the Accused
15   MoCA Instrumentalities to infringe the ’7,566 Patent.
16            473. Comcast aids, instructs, supports, and otherwise acts with the intent to
17   cause an end user to make and/or use the MoCA network and/or use the Accused MoCA
18   Instrumentalities to infringe every element of at least claim 11 of the ’7,566 Patent.
19            474. Additionally, Comcast contributes to the customers’ and subscribers’ direct
20   infringement. Comcast provides, inter alia, the Accused MoCA Instrumentalities
21   designed and configured to create a MoCA network and operate as nodes in the network,
22   the use of which infringes at least claim 11 of the ’7,566 Patent.
23            475. The Accused MoCA Instrumentalities have no substantial noninfringing
24   uses. When an end user uses the Accused MoCA Instrumentalities in connection with
25   the Accused Services provided by Comcast, the end user directly infringes at least claim
26   11 of the ’7,566 Patent. The Accused MoCA Instrumentalities are therefore especially
27   made or especially adapted for use in an infringing manner.
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        CORRECTED SECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
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 1            476. Comcast’s inducement of, and contribution to, the direct infringement of at
 2   least claim 11 of the ’7,566 Patent has been, and is, continuous and ongoing through the
 3   acts described above in connection with Comcast’s provision of the Accused Services.
 4            477. Comcast’s infringement of the ’7,566 Patent is, has been, and continues to
 5   be willful, intentional, deliberate, and/or in conscious disregard for Entropic’s rights
 6   under the patent.
 7            478. Entropic has been damaged as a result of the infringing conduct alleged
 8   above. Comcast is liable to Entropic in an amount that compensates Entropic for
 9   Comcast’s infringement, which by law cannot be less than a reasonable royalty, together
10   with interest and costs as fixed by this Court under 35 U.S.C. § 284.
11            479. Entropic is aware of no obligation to mark any instrumentality with the
12   ’7,566 Patent in accordance with 35 U.S.C. § 287.
13                                             COUNT VII
14                                   (Infringement of the ’539 Patent)
15            480. Entropic incorporates by reference each allegation of the paragraphs above
16   as if fully set forth herein.
17            481. The ’539 Patent duly issued on December 31, 2013 from an application
18   filed September 29, 2005 and, inter alia, a provisional application filed December 2,
19   2004.
20            482. Entropic owns all substantial rights, interest, and title in and to the ’539
21   Patent, including the sole and exclusive right to prosecute this action and enforce the
22   ’539 Patent against infringers, and to collect damages for all relevant times.
23            483. The ’539 Patent is one of the Link Maintenance Patents, and is generally
24   directed to, inter alia, a physical layer transmitter that performs all of the necessary RF,
25   analog and digital processing required for transmitting MAC messages between devices
26   in a broadband cable network. ’539 Patent, col. 4, lines 37–48. The ’539 Patent has seven
27   claims, of which claim 1 is independent. At least this claim of the ’539 Patent is directed
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        CORRECTED SECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
     317130544.1
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 1   at a variety of techniques for monitoring and maintaining utilized modulation profiles in
 2   the MoCA network. A true and accurate copy of the ’539 Patent is attached hereto as
 3   Exhibit M.
 4            484. The ’539 Patent is directed to patent-eligible subject matter pursuant to 35
 5   U.S.C. § 101.
 6            485. The ’539 Patent is valid and enforceable, and presumed as such, pursuant
 7   to 35 U.S.C. § 282.
 8            486. Comcast deploys one or more of the Accused MoCA Instrumentalities (e.g.
 9   XG1-A, XG1v3, XG1v4, XG2v2, and Arris DCX3200, Arris MR150CNM, Pace
10   PR150BNM, Pace PX032ANI, Pace PXD01ANI, and/or Samsung SR150BNM and
11   similarly operating devices) in connection with operating and providing the Accused
12   Services.
13            487. The Accused MoCA Instrumentalities deployed by Comcast to customer
14   premises remain the property of Comcast while deployed.
15            488. The Accused MoCA Instrumentalities operate while deployed in a manner
16   controlled and intended by Comcast.
17            489. As set forth in the infringement contentions that were served on Comcast
18   on September 29, 2023 (attached hereto as Exhibit N), 21 any product or system
19   operating in a MoCA network compliant with the charted provisions of MoCA 1.0, 1.1,
20   and/or 2.0 necessarily infringes at least claim 1 of the ’539 Patent.
21            490. Each aspect of the functioning of the Accused MoCA Instrumentalities
22   described in the claim chart operates while deployed to customer premises in a manner
23   controlled and intended by Comcast.
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27   21
          The prior claim chart for this patent can be found at DE 67.
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          CORRECTED SECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
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 1   with MoCA 1.0, 1.1, and/or 2.0 to deliver Comcast services would necessarily infringe
 2   one or more claims of the ’539 Patent.
 3            509. Since learning of the ’539 Patent and its infringing activities, Comcast has
 4   failed to cease its infringing activities.
 5            510. Comcast’s customers and subscribers directly infringe at least claim 1 of
 6   the ’539 Patent by using the Accused MoCA Instrumentalities in connection with the
 7   Accused Services provided by Comcast.
 8            511. Comcast actively induces its customers’ and subscribers’ direct
 9   infringement by providing the Accused Services through the Accused MoCA
10   Instrumentalities, and associated support.
11            512. For example, Comcast actively induces infringement of at least claim 1 of
12   the ’539 Patent by providing the Accused MoCA Instrumentalities to Comcast
13   customers with specific instructions and/or assistance (including installation and
14   maintenance) regarding the instantiation of a MoCA network and the use of the Accused
15   MoCA Instrumentalities to infringe the ’539 Patent.
16            513. Comcast aids, instructs, supports, and otherwise acts with the intent to
17   cause an end user to make and/or use the MoCA network and/or use the Accused MoCA
18   Instrumentalities to infringe every element of at least claim 1 of the ’539 Patent.
19            514. Additionally, Comcast contributes to the customers’ and subscribers’ direct
20   infringement. Comcast provides, inter alia, the Accused MoCA Instrumentalities
21   designed and configured to create a MoCA network and operate as nodes in the network,
22   the use of which infringes at least claim 1 of the ‘539 Patent.
23            515. The Accused MoCA Instrumentalities have no substantial noninfringing
24   uses. When an end user uses the Accused MoCA Instrumentalities in connection with
25   the Accused Services provided by Comcast, the end user directly infringes at least claim
26   1 of the ’539 Patent. The Accused MoCA Instrumentalities are therefore especially made
27   or especially adapted for use in an infringing manner.
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        CORRECTED SECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
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 1            516. Comcast’s inducement of, and contribution to, the direct infringement of at
 2   least claim 1 of the ’539 Patent has been, and is, continuous and ongoing through the
 3   acts described above in connection with Comcast’s provision of the Accused Services.
 4            517. Comcast’s infringement of the ’539 Patent is, has been, and continues to be
 5   willful, intentional, deliberate, and/or in conscious disregard for Entropic’s rights under
 6   the patent.
 7            518. Entropic has been damaged as a result of the infringing conduct alleged
 8   above. Comcast is liable to Entropic in an amount that compensates Entropic for
 9   Comcast’s infringement, which by law cannot be less than a reasonable royalty, together
10   with interest and costs as fixed by this Court under 35 U.S.C. § 284.
11            519. Entropic is aware of no obligation to mark any instrumentality with the ’539
12   Patent in accordance with 35 U.S.C. § 287.
13                                            COUNT VIII
14                                   (Infringement of the ’213 Patent)
15            520. Entropic incorporates by reference each allegation of the paragraphs above
16   as if fully set forth herein.
17            521. The ’213 Patent duly issued on December 5, 2017 from an application filed
18   February 6, 2008, and, inter alia, a provisional application filed on February 6 2007.
19            522. Entropic owns all substantial rights, interest, and title in and to the ’213
20   Patent, including the sole and exclusive right to prosecute this action and enforce the
21   ’213 Patent against infringers, and to collect damages for all relevant times.
22            523. The ’213 Patent is one of the PQoS Flows Patents, and is generally directed
23   to, inter alia, low-cost and high-speed management of resources within a network in
24   order to secure the capability to distribute multimedia data (such as video/audio, games,
25   images, generic data, and interactive services) between devices within existing on-
26   premises coaxial cable networks. ’213 Patent, col. 3, lines 46–53. The ’213 Patent has
27   24 claims, of which claims 1, 13, and 23 are independent. At least these claims of the
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                                                   -82-
        CORRECTED SECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
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 1   ’213 Patent are directed to a variety of techniques for allocating resources for guaranteed
 2   quality of service flows in the MoCA network. A true and accurate copy of the ’213
 3   Patent is attached hereto as Exhibit O.
 4            524. The ’213 Patent is directed to patent-eligible subject matter pursuant to 35
 5   U.S.C. § 101.
 6            525. The ’213 Patent is valid and enforceable, and presumed as such, pursuant
 7   to 35 U.S.C. § 282.
 8            526. Comcast deploys one or more of the Accused MoCA Instrumentalities (e.g.
 9   XG1-A, XG1v3, XG1v4, XG2v2, and Arris DCX3200, Arris MR150CNM, Pace
10   PR150BNM, Pace PX032ANI, Pace PXD01ANI, and/or Samsung SR150BNM and
11   similarly operating devices) in connection with operating and providing the Accused
12   Services.
13            527. The Accused MoCA Instrumentalities deployed by Comcast to customer
14   premises remain the property of Comcast while deployed.
15            528. The Accused MoCA Instrumentalities operate while deployed in a manner
16   controlled and intended by Comcast.
17            529. As set forth in the infringement contentions that were served on Comcast
18   on September 29, 2023 (attached hereto as Exhibit P),22 any product or system operating
19   in a MoCA network compliant with the charted provisions of MoCA 1.1, or 2.0
20   necessarily infringes at least claim 1 of the ’213 Patent.
21            530. Each aspect of the functioning of the Accused MoCA Instrumentalities
22   described in the claim chart operates while deployed to customer premises in a manner
23   controlled and intended by Comcast.
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27   22
          The prior claim chart for this patent can be found at DE 67.
28
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 1            548. Comcast’s customers and subscribers directly infringe at least claim 1 of
 2   the ’213 Patent by using the Accused MoCA Instrumentalities in connection with the
 3   Accused Services provided by Comcast.
 4            549. Comcast actively induces its customers’ and subscribers’ direct
 5   infringement by providing the Accused Services and associated support.
 6            550. For example, Comcast actively induces infringement of at least claim 1 of
 7   the ’213 Patent by providing the Accused MoCA Instrumentalities to Comcast
 8   customers with specific instructions and/or assistance (including installation and
 9   maintenance) regarding the instantiation of a MoCA network and the use of the Accused
10   MoCA Instrumentalities to infringe the ’213 Patent.
11            551. Comcast aids, instructs, supports, and otherwise acts with the intent to
12   cause an end user to make and/or use the MoCA network and/or use the Accused MoCA
13   Instrumentalities to infringe every element of at least claim 1 of the ’213 Patent.
14            552. Additionally, Comcast contributes to the customers’ and subscribers’ direct
15   infringement. Comcast provides at least the Accused MoCA Instrumentalities that create
16   and are at least substantially all of a MoCA network to be used to infringe at least claim
17   1 of the ’213 Patent.
18            553. The Accused MoCA Instrumentalities have no substantial noninfringing
19   uses. When an end user uses the Accused MoCA Instrumentalities in connection with
20   the Accused Services provided by Comcast, the end user directly infringes at least claim
21   1 of the ’213 Patent. The Accused MoCA Instrumentalities are therefore especially made
22   or especially adapted for use in an infringing manner.
23            554. Comcast’s inducement of, and contribution to, the direct infringement of at
24   least claim 1 of the ’213 Patent has been, and is, continuous and ongoing through the
25   acts described above in connection with Comcast’s provision of the Accused Services.
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        CORRECTED SECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
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 1            555. Comcast’s infringement of the ’213 Patent is, has been, and continues to be
 2   willful, intentional, deliberate, and/or in conscious disregard for Entropic’s rights under
 3   the patent.
 4            556. Entropic has been damaged as a result of the infringing conduct alleged
 5   above. Comcast is liable to Entropic in an amount that compensates Entropic for
 6   Comcast’s infringement, which by law cannot be less than a reasonable royalty, together
 7   with interest and costs as fixed by this Court under 35 U.S.C. § 284.
 8            557. Upon information and belief, there is no duty to mark any instrumentality
 9   with the ’213 Patent in accordance with 35 U.S.C. § 287(a).
10                                             COUNT IX
11                                   (Infringement of the ’422 Patent)
12            558. Entropic incorporates by reference each allegation of the paragraphs above
13   as if fully set forth herein.
14            559. The ’422 Patent duly issued on October 1, 2019 from an application filed
15   December 5, 2017, an application filed February 6, 2008, and, inter alia, a provisional
16   application filed February 6, 2007.
17            560. Entropic owns all substantial rights, interest, and title in and to the ’422
18   Patent, including the sole and exclusive right to prosecute this action and enforce the
19   ’422 Patent against infringers, and to collect damages for all relevant times.
20            561. The ’422 Patent is one of the PQoS Flows Patents, and is generally directed
21   to, inter alia, low-cost and high-speed management of resources within a network in
22   order to secure the capability to distribute multimedia data (such as video/audio, games,
23   images, generic data, and interactive services) between devices within existing on-
24   premises coaxial cable networks. ’422 Patent, col. 3, lines 53–60. The ’422 Patent has
25   20 claims, of which, claims 1, 5, 12–17 are independent. At least these claims of the
26   ’422 Patent are directed to a variety of techniques for allocating resources for guaranteed
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        CORRECTED SECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
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 1   quality of service flows in the MoCA network. A true and accurate copy of the ’422
 2   Patent is attached hereto as Exhibit Q.
 3            562. The ’422 Patent is directed to patent-eligible subject matter pursuant to
 4   35 U.S.C. § 101.
 5            563. The ’422 Patent is valid and enforceable, and presumed as such, pursuant
 6   to 35 U.S.C. § 282.
 7            564. Comcast deploys one or more of the Accused MoCA Instrumentalities (e.g.
 8   XG1-A, XG1v3, XG1v4, XG2v2, and Arris DCX3200, Arris MR150CNM, Pace
 9   PR150BNM, Pace PX032ANI, Pace PXD01ANI, and/or Samsung SR150BNM and
10   similarly operating devices) in connection with operating and providing the Accused
11   Services.
12            565. The Accused MoCA Instrumentalities deployed by Comcast to customer
13   premises remain the property of Comcast while deployed.
14            566. The Accused MoCA Instrumentalities operate while deployed in a manner
15   controlled and intended by Comcast.
16            567. As set forth in the infringement contentions that were served on Comcast
17   on September 29, 2023 (attached hereto as Exhibit R),23 any product or system operating
18   in a MoCA network compliant with the charted provisions of MoCA 1.1, or 2.0
19   necessarily infringes at least claim 1 of the ’422 Patent.
20            568. Each aspect of the functioning of the Accused MoCA Instrumentalities
21   described in the claim chart operates while deployed to customer premises in a manner
22   controlled and intended by Comcast.
23            569. Comcast provides no software, support or other facility to customers to
24   modify any aspect of the functioning described in the claim chart of the Accused MoCA
25   Instrumentalities while deployed to customer premises.
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27   23
          The prior claim chart for this patent can be found at DE 67.
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          CORRECTED SECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
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 1   maintenance) regarding the instantiation of a MoCA network and the use of the Accused
 2   MoCA Instrumentalities to infringe the ’422 Patent.
 3            589. Comcast aids, instructs, supports, and otherwise acts with the intent to
 4   cause an end user to make and/or use the MoCA network and/or use the Accused MoCA
 5   Instrumentalities to infringe every element of at least claim 1 of the ’422 Patent.
 6            590. Additionally, Comcast contributes to the customers’ and subscribers’ direct
 7   infringement. Comcast provides at least the Accused MoCA Instrumentalities that create
 8   and are at least substantially all of a MoCA network to be used to infringe at least claim
 9   1 of the ’422 Patent.
10            591. The Accused MoCA Instrumentalities have no substantial noninfringing
11   uses. When an end user uses the Accused MoCA Instrumentalities in connection with
12   the Accused Services provided by Comcast, the end user directly infringes at least claim
13   1 of the ’422 Patent. The Accused MoCA Instrumentalities are therefore especially made
14   or especially adapted for use in an infringing manner.
15            592. Comcast’s inducement of, and contribution to, the direct infringement of at
16   least claim 1 of the ’422 Patent has been, and is, continuous and ongoing through the
17   acts described above in connection with Comcast’s provision of the Accused Services.
18            593. Comcast’s infringement of the ’422 Patent is, has been, and continues to be
19   willful, intentional, deliberate, and/or in conscious disregard for Entropic’s rights under
20   the patent.
21            594. Entropic has been damaged as a result of the infringing conduct alleged
22   above. Comcast is liable to Entropic in an amount that compensates Entropic for
23   Comcast’s infringement, which by law cannot be less than a reasonable royalty, together
24   with interest and costs as fixed by this Court under 35 U.S.C. § 284.
25            595. Upon information and belief, there is no duty to mark any instrumentality
26   with the ’422 Patent in accordance with 35 U.S.C. § 287.
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        CORRECTED SECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
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 1                                              COUNT X
 2                                   (Infringement of the ’910 Patent)
 3            596. Entropic incorporates by reference each allegation of the paragraphs above
 4   as if fully set forth herein.
 5            597. The ’910 Patent duly issued on July 24, 2012 from an application filed May
 6   9, 2008, and a provisional application filed May 9, 2007.
 7            598. Entropic owns all substantial rights, interest, and title in and to the ’910
 8   Patent, including the sole and exclusive right to prosecute this action and enforce the
 9   ’910 Patent against infringers, and to collect damages for all relevant times.
10            599. The ’910 Patent is the Packet Aggregation Patent, and is generally directed
11   to, inter alia, transmitting data over a network, where the transmitting device aggregates
12   packets that are directed to a common destination node. This reduces the transmitted
13   packet overhead of the network by eliminating interframe gaps, preamble information,
14   and extra headers. ’910 Patent, col. 1, line 66 – col. 2, line 3. The ’910 Patent has three
15   claims, all of which are independent. At least these claims of the ’910 Patent are directed
16   to a variety of techniques for aggregating packet data units in the MoCA network. A true
17   and accurate copy of the ’910 Patent is attached hereto as Exhibit S.
18            600. The ’910 Patent is directed to patent-eligible subject matter pursuant to 35
19   U.S.C. § 101.
20            601. The ’910 Patent is valid and enforceable, and presumed as such, pursuant
21   to 35 U.S.C. § 282.
22            602. Comcast deploys one or more of the Accused MoCA Instrumentalities (e.g.
23   XG1-A, XG1v3, XG1v4, XG2v2, and Arris DCX3200, Arris MR150CNM, Pace
24   PR150BNM, Pace PX032ANI, Pace PXD01ANI, and/or Samsung SR150BNM and
25   similarly operating devices) in connection with operating and providing the Accused
26   Services.
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        CORRECTED SECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
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 1            603. The Accused MoCA Instrumentalities deployed by Comcast to customer
 2   premises remain the property of Comcast while deployed.
 3            604. The Accused MoCA Instrumentalities operate while deployed in a manner
 4   controlled and intended by Comcast.
 5            605. As set forth in the infringement contentions that were served on Comcast
 6   on September 29, 2023 (attached hereto as Exhibit T),24 any product or system operating
 7   in a MoCA network compliant with the charted provisions of MoCA 1.1, or 2.0
 8   necessarily infringes at least claim 3 of the ’910 Patent.
 9            606. Each aspect of the functioning of the Accused MoCA Instrumentalities
10   described in the claim chart operates while deployed to customer premises in a manner
11   controlled and intended by Comcast.
12            607. Comcast provides no software, support or other facility to customers to
13   modify any aspect of the functioning described in the claim chart of the Accused MoCA
14   Instrumentalities while deployed to customer premises.
15            608. The Accused MoCA Instrumentalities are compliant with MoCA 1.1.,
16   and/or MoCA 2.0, as described in the ’910 Patent claim chart, Exhibit T.
17            609. Comcast therefore directly infringes at least claim 3 of the ’910 Patent by
18   using the Accused MoCA Instrumentalities to provide Accused Services to customers.
19            610. Comcast directly infringes at least claim 3 of the ’910 Patent when it, for
20   example, uses the Accused MoCA Instrumentalities to test, demonstrate or otherwise
21   provide Accused Services.
22            611. Comcast directly infringes at least claim 3 of the ’910 Patent by making,
23   importing, selling, and/or offering for sale the Accused MoCA Instrumentalities, which
24   meet every limitation of at least claim 3 of the ’910 Patent, in connection with providing
25   the Accused Services over an on-premises coaxial cable network.
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27   24
          The prior claim chart for this patent can be found at DE 67.
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          CORRECTED SECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
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 1            622. Comcast knew, or was willfully blind to the fact that the technology of
 2   the ’910 Patent directly relates to networking over coaxial cable, including MoCA, at
 3   least as early as Comcast became aware of the existence of the ’910 Patent. Because of
 4   its familiarity with, and access to, the MoCA standards, Comcast knew, or was willfully
 5   blind to the fact, that use (by Comcast or its customers) of instrumentalities compliant
 6   with MoCA 1.1, and/or 2.0 to deliver Comcast services would necessarily infringe one
 7   or more claims of the ’910 Patent.
 8            623. Since learning of the ’910 Patent and its infringing activities, Comcast has
 9   failed to cease its infringing activities.
10            624. Comcast’s customers and subscribers directly infringe at least claim 3 of
11   the ’910 Patent by using the Accused MoCA Instrumentalities in connection with the
12   Accused Services provided by Comcast.
13            625. Comcast actively induces its customers’ and subscribers’ direct
14   infringement by providing the Accused Services through the Accused MoCA
15   Instrumentalities, and associated support.
16            626. For example, Comcast actively induces infringement of at least claim 3 of
17   the ’910 Patent by providing the Accused MoCA Instrumentalities to Comcast
18   customers with specific instructions and/or assistance (including installation and
19   maintenance) regarding the instantiation of a MoCA network and the use of the Accused
20   MoCA Instrumentalities to infringe the ’910 Patent.
21            627. Comcast aids, instructs, supports, and otherwise acts with the intent to
22   cause an end user to make and/or use the MoCA network and/or use the Accused MoCA
23   Instrumentalities to infringe every element of at least claim 3 of the ’910 Patent.
24            628. Additionally, Comcast contributes to the customers’ and subscribers’ direct
25   infringement. Comcast provides, inter alia, the Accused MoCA Instrumentalities
26   designed and configured to create a MoCA network and operate as nodes in the network,
27   the use of which infringes at least claim 3 of the ’910 Patent.
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        CORRECTED SECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT
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 1            629. The Accused MoCA Instrumentalities have no substantial noninfringing
 2   uses. When an end user uses the Accused MoCA Instrumentalities in connection with
 3   the Accused Services provided by Comcast, the end user directly infringes at least claim
 4   3 of the ’910 Patent. The Accused MoCA Instrumentalities are therefore especially made
 5   or especially adapted for use in an infringing manner.
 6            630. Comcast’s inducement of, and contribution to, the direct infringement of at
 7   least claim 3 of the ’910 Patent has been, and is, continuous and ongoing through the
 8   acts described above in connection with Comcast’s provision of the Accused Services.
 9            631. Comcast’s infringement of the ’910 Patent is, has been, and continues to be
10   willful, intentional, deliberate, and/or in conscious disregard for Entropic’s rights under
11   the patent.
12            632. Entropic has been damaged as a result of the infringing conduct alleged
13   above. Comcast is liable to Entropic in an amount that compensates Entropic for
14   Comcast’s infringement, which by law cannot be less than a reasonable royalty, together
15   with interest and costs as fixed by this Court under 35 U.S.C. § 284.
16            633. Entropic is aware of no obligation to mark any instrumentality with the ’910
17   Patent in accordance with 35 U.S.C. § 287.
18                                           COUNT XI
19                               (Infringement of the ’0,566 Patent)
20            634. Entropic incorporates by reference each allegation of the paragraphs above
21   as if fully set forth herein.
22            635. The ’0,566 Patent duly issued on November 27, 2012 from an application
23   filed October 15, 2009, and, inter alia, a provisional application filed October 16, 2008.
24            636. Entropic owns all substantial rights, interest, and title in and to the ’0,566
25   Patent, including the sole and exclusive right to prosecute this action and enforce the
26   ’0,566 Patent against infringers, and to collect damages for all relevant times.
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 1            637. The ’0,566 Patent is the OFDMA Patent, and is generally directed to, inter
 2   alia, “allow[ing] multiple transmitting network devices to transmit under an orthogonal
 3   frequency divisional multiple access (OFDMA) mode to a receiving network device.”
 4   ’0,566 Patent, Abstract. The ’0,566 Patent has 18 claims, of which claims 1, 7, 13, and
 5   16 are independent. At least these claims of the ’0,566 Patent are directed to a variety of
 6   techniques for assigning communication resources to one or more nodes in the MoCA
 7   network. A true and accurate copy of the ’0,566 Patent is attached hereto as Exhibit U.
 8            638. The ’0,566 Patent is directed to patent-eligible subject matter pursuant to
 9   35 U.S.C. § 101.
10            639. The ’0,566 Patent is valid and enforceable, and presumed as such, pursuant
11   to 35 U.S.C. § 282.
12            640. Comcast deploys one or more of the Accused MoCA Instrumentalities (e.g.
13   XG1-A, XG1v3, XG1v4, XG2v2, and Arris DCX3200, Arris MR150CNM, Pace
14   PR150BNM, Pace PX032ANI, Pace PXD01ANI, and/or Samsung SR150BNM and
15   similarly operating devices) in connection with operating and providing the Accused
16   Services.
17            641. The Accused MoCA Instrumentalities deployed by Comcast to customer
18   premises remain the property of Comcast while deployed.
19            642. The Accused MoCA Instrumentalities operate while deployed in a manner
20   controlled and intended by Comcast.
21            643. As set forth in the infringement contentions that were served on Comcast
22   on September 29, 2023 (attached hereto as Exhibit V),25 any product or system operating
23   in a MoCA network compliant with the charted provisions of MoCA 2.0 necessarily
24   infringes at least claim 1 of the ’0,566 Patent.
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27   25
          The prior claim chart for this patent can be found at DE 67.
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 1            661. Since learning of the ’0,566 Patent and its infringing activities, Comcast
 2   has failed to cease its infringing activities.
 3            662. Comcast’s customers and subscribers directly infringe at least claim 1 of
 4   the ’0,566 Patent by using the Accused MoCA Instrumentalities in connection with the
 5   Accused Services provided by Comcast.
 6            663. Comcast actively induces its customers’ and subscribers’ direct
 7   infringement by providing the Accused Services and associated support.
 8            664. For example, Comcast actively induces infringement of at least claim 1 of
 9   the ’0,566 Patent by providing the Accused MoCA Instrumentalities to Comcast
10   customers with specific instructions and/or assistance (including installation and
11   maintenance) regarding the instantiation of a MoCA network and the use of the Accused
12   MoCA Instrumentalities to infringe the ’0,566 Patent.
13            665. Comcast aids, instructs, supports, and otherwise acts with the intent to
14   cause an end user to make and/or use the MoCA network and/or use the Accused MoCA
15   Instrumentalities to infringe every element of at least claim 1 of the ’0,566 Patent.
16            666. Additionally, Comcast contributes to the customers’ and subscribers’ direct
17   infringement. Comcast provides at least the Accused MoCA Instrumentalities that create
18   and are at least substantially all of a MoCA network to be used to infringe at least claim
19   1 of the ’0,566 Patent.
20            667. The Accused MoCA Instrumentalities have no substantial noninfringing
21   uses. When an end user uses the Accused MoCA Instrumentalities in connection with
22   the Accused Services provided by Comcast, the end user directly infringes at least claim
23   1 of the ’0,566 Patent. The Accused MoCA Instrumentalities are therefore especially
24   made or especially adapted for use in an infringing manner.
25            668. Comcast’s inducement of, and contribution to, the direct infringement of at
26   least claim 1 of the ’0,566 Patent has been, and is, continuous and ongoing through the
27   acts described above in connection with Comcast’s provision of the Accused Services.
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 1            669. Comcast’s infringement of the ’0,566 Patent is, has been, and continues to
 2   be willful, intentional, deliberate, and/or in conscious disregard for Entropic’s rights
 3   under the patent.
 4            670. Entropic has been damaged as a result of the infringing conduct alleged
 5   above. Comcast is liable to Entropic in an amount that compensates Entropic for
 6   Comcast’s infringement, which by law cannot be less than a reasonable royalty, together
 7   with interest and costs as fixed by this Court under 35 U.S.C. § 284.
 8            671. Upon information and belief, there is no duty to mark any instrumentality
 9   with the ’0,566 Patent in accordance with 35 U.S.C. § 287(a).
10                                             COUNT XII
11                                   (Infringement of the ’681 Patent)
12            672. Entropic incorporates by reference each allegation of the paragraphs above
13   as if fully set forth herein.
14            673. The ’681 Patent duly issued on January 29, 2013 from an application filed
15   October 15, 2009 and, inter alia, a provisional application filed October 16, 2008.
16            674. Entropic owns all substantial rights, interest, and title in and to the ’681
17   Patent, including the sole and exclusive right to prosecute this action and enforce the
18   ’681 Patent against infringers, and to collect damages for all relevant times.
19            675. The ’681 Patent is the Clock Sync Patent, and is generally directed to, inter
20   alia, improving local clock time synchronization between a plurality of nodes in a
21   communication network. ’681 Patent, Abstract. The ’681 Patent has 40 claims, of which
22   claims 1, 11, 21, and 31 are independent. At least these claims of the ’681 Patent are
23   directed to a variety of techniques for clock synchronization for nodes in the MoCA
24   network. A true and accurate copy of the ’681 Patent is attached hereto as Exhibit W.
25            676. The ’681 Patent is directed to patent-eligible subject matter pursuant to 35
26   U.S.C. § 101.
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                                                  -101-
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 1            677. The ’681 Patent is valid and enforceable, and presumed as such, pursuant
 2   to 35 U.S.C. § 282.
 3            678. Comcast deploys one or more of the Accused MoCA Instrumentalities (e.g.
 4   XG1-A, XG1v3, XG1v4, XG2v2, and Arris DCX3200, Arris MR150CNM, Pace
 5   PR150BNM, Pace PX032ANI, Pace PXD01ANI, and/or Samsung SR150BNM and
 6   similarly operating devices) in connection with operating and providing the Accused
 7   Services.
 8            679. The Accused MoCA Instrumentalities deployed by Comcast to customer
 9   premises remain the property of Comcast while deployed.
10            680. The Accused MoCA Instrumentalities operate while deployed in a manner
11   controlled and intended by Comcast.
12            681. As set forth in the infringement contentions that were served on Comcast
13   on September 29, 2023 (attached hereto as Exhibit X),26 any product or system operating
14   in a MoCA network compliant with the charted provisions of MoCA 2.0 necessarily
15   infringes at least claim 1 of the ’681 Patent.
16            682. Each aspect of the functioning of the Accused MoCA Instrumentalities
17   described in the claim chart operates while deployed to customer premises in a manner
18   controlled and intended by Comcast.
19            683. Comcast provides no software, support or other facility to customers to
20   modify any aspect of the functioning described in the claim chart of the Accused MoCA
21   Instrumentalities while deployed to customer premises.
22            684. The Accused MoCA Instrumentalities are compliant with MoCA 2.0
23   described in the ’681 Patent claim chart, Exhibit X.
24            685. Comcast therefore directly infringes at least claim 1 of the ’681 Patent by
25   using the Accused MoCA Instrumentalities to provide Accused Services to customers.
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27   26
          The prior claim chart for this patent can be found at DE 67.
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 1            703. Comcast aids, instructs, supports, and otherwise acts with the intent to
 2   cause an end user to make and/or use the MoCA network and/or use the Accused MoCA
 3   Instrumentalities to infringe every element of at least claim 1 of the ’681 Patent.
 4            704. Additionally, Comcast contributes to the customers’ and subscribers’ direct
 5   infringement. Comcast provides at least the Accused MoCA Instrumentalities that create
 6   and are at least substantially all of a MoCA network to be used to infringe at least claim
 7   1 of the ’681 Patent.
 8            705. The Accused MoCA Instrumentalities have no substantial noninfringing
 9   uses. When an end user uses the Accused MoCA Instrumentalities in connection with
10   the Accused Services provided by Comcast, the end user directly infringes at least claim
11   1 of the ’681 Patent. The Accused MoCA Instrumentalities are therefore especially made
12   or especially adapted for use in an infringing manner.
13            706. Comcast’s inducement of, and contribution to, the direct infringement of at
14   least claim 1 of the ’681 Patent has been, and is, continuous and ongoing through the
15   acts described above in connection with Comcast’s provision of the Accused Services.
16            707. Comcast’s infringement of the ’681 Patent is, has been, and continues to be
17   willful, intentional, deliberate, and/or in conscious disregard for Entropic’s rights under
18   the patent.
19            708. Entropic has been damaged as a result of the infringing conduct alleged
20   above. Comcast is liable to Entropic in an amount that compensates Entropic for
21   Comcast’s infringement, which by law cannot be less than a reasonable royalty, together
22   with interest and costs as fixed by this Court under 35 U.S.C. § 284.
23            709. Upon information and belief, there is no duty to mark any instrumentality
24   with the ’681 Patent in accordance with 35 U.S.C. § 287(a).
25                                   PRAYER FOR RELIEF
26   WHEREFORE, Entropic requests that:
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 1            A.    The Court find that Comcast has directly infringed the Patents-in-Suit and
 2   hold Comcast liable for such infringement;
 3            B.    The Court award damages pursuant to 35 U.S.C. § 284 adequate to
 4   compensate Entropic for Comcast’s past and future infringement of the Patents-in-Suit,
 5   including both pre- and post-judgment interest and costs as fixed by the Court;
 6            C.    The Court increase any award to Entropic by a judicially appropriate
 7   amount;
 8            D.    The Court find that Comcast willfully infringed the Patents-in-Suit, and
 9   increase the damages to be awarded to Entropic by three times the amount found by the
10   jury or assessed by the Court;
11            E.    The Court declare that this is an exceptional case entitling Entropic to its
12   reasonable attorneys’ fees under 35 U.S.C. § 285; and
13            F.    The Court award such other relief as the Court may deem just and proper.
14
                                   JURY TRIAL DEMANDED
15
              Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Entropic hereby
16
     requests a trial by jury on all issues raised by this Complaint.
17
18    Dated: December 15, 2023                 Respectfully submitted,
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